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                                               EXHIBIT A

      Plaintiff                                                   Admin Docket Case       Active Docket Case
Row                     Plaintiff Name     Law Firm Name
         ID                                                           Number                   Number
1.    170956 Abella, Salvador            Tracey & Fox Law Firm   8:20‐cv‐05194‐MCR‐HTC
2.    229210 Acree, Randy                Tracey & Fox Law Firm   8:20‐cv‐65763‐MCR‐HTC
3.    249576 Adams, Anthony              Tracey & Fox Law Firm   8:20‐cv‐92120‐MCR‐HTC
4.    238554 Adams, Rodney               Tracey & Fox Law Firm   8:20‐cv‐84029‐MCR‐HTC
5.    268387 Adkins, Donald              Tracey & Fox Law Firm   9:20‐cv‐17356‐MCR‐HTC
6.     19234      Aguilar, Luis          Tracey & Fox Law Firm   7:20‐cv‐83335‐MCR‐HTC
7.    206350 Aguilar, Richard            Tracey & Fox Law Firm   8:20‐cv‐51159‐MCR‐HTC
8.    230157 Aguinaldo, Edwin            Tracey & Fox Law Firm   8:20‐cv‐72691‐MCR‐HTC
9.    183586 Alaniz, Justin              Tracey & Fox Law Firm                           8:20‐cv‐05658‐MCR‐HTC
10.   157789 Aldana, Alvinmar            Tracey & Fox Law Firm   7:20‐cv‐99127‐MCR‐HTC
11.   249584 Alexander, Justin           Tracey & Fox Law Firm                           8:20‐cv‐92128‐MCR‐HTC
12.   249585 Al‐Fassi, Musawi            Tracey & Fox Law Firm   8:20‐cv‐92129‐MCR‐HTC
13.   268380 Alford, Eddie               Tracey & Fox Law Firm   9:20‐cv‐17341‐MCR‐HTC
14.   183591 Alfrey, Jamie               Tracey & Fox Law Firm   8:20‐cv‐05688‐MCR‐HTC
15.   214762 Alfs, Taylor                Tracey & Fox Law Firm   8:20‐cv‐61196‐MCR‐HTC
16.   214763 Algee, Jacqueline           Tracey & Fox Law Firm   8:20‐cv‐61197‐MCR‐HTC
17.   206972 Ali, Amira                  Tracey & Fox Law Firm   8:20‐cv‐51612‐MCR‐HTC
18.   230031 Ali‐El, Jaquine             Tracey & Fox Law Firm   8:20‐cv‐67220‐MCR‐HTC
19.   183592 Allen, Douglas              Tracey & Fox Law Firm   8:20‐cv‐05694‐MCR‐HTC
20.   183593 Allen, Elijah               Tracey & Fox Law Firm                           8:20‐cv‐05699‐MCR‐HTC
21.   214764 Allen, Ronald               Tracey & Fox Law Firm   8:20‐cv‐61198‐MCR‐HTC
22.   238568 Alonzo, Jason               Tracey & Fox Law Firm                           8:20‐cv‐84067‐MCR‐HTC
23.   280697 Alther, Bobby               Tracey & Fox Law Firm   7:21‐cv‐03513‐MCR‐HTC
24.   289396 Alvarado, Armando           Tracey & Fox Law Firm   7:21‐cv‐10339‐MCR‐HTC
25.   263723 Alvarez, Eleazar            Tracey & Fox Law Firm   9:20‐cv‐03841‐MCR‐HTC
26.   170919 Alvaro, Kashif              Tracey & Fox Law Firm   8:20‐cv‐04893‐MCR‐HTC
27.   260112 Alves, Jose                 Tracey & Fox Law Firm                           9:20‐cv‐01780‐MCR‐HTC
28.   241485 Amante, Blaine              Tracey & Fox Law Firm   8:20‐cv‐88277‐MCR‐HTC
29.    19302      Amos, James            Tracey & Fox Law Firm   7:20‐cv‐83754‐MCR‐HTC
30.   183604 Ancheta, Canuto             Tracey & Fox Law Firm   8:20‐cv‐04702‐MCR‐HTC
31.   241486 Anderson, Brian             Tracey & Fox Law Firm                           8:20‐cv‐88279‐MCR‐HTC
32.   249595 Anderson, Joseph            Tracey & Fox Law Firm   8:20‐cv‐92139‐MCR‐HTC
33.   205432 Anderson, Josh              Tracey & Fox Law Firm   8:20‐cv‐48106‐MCR‐HTC
34.   229841 Anderson, Kenneth           Tracey & Fox Law Firm   8:20‐cv‐66565‐MCR‐HTC
35.   322254 Anderson, Rodney            Tracey & Fox Law Firm   7:21‐cv‐38457‐MCR‐HTC
36.   183610 Andres, Dylan               Tracey & Fox Law Firm   8:20‐cv‐04727‐MCR‐HTC
37.   229599 Aplin, Derrick              Tracey & Fox Law Firm                           8:20‐cv‐66913‐MCR‐HTC
38.   206184 Ardoin, Johnathan           Tracey & Fox Law Firm                           8:20‐cv‐50330‐MCR‐HTC
39.   238583 Arnold, Sean                Tracey & Fox Law Firm   8:20‐cv‐84359‐MCR‐HTC
40.   183620 Arrants, Chance             Tracey & Fox Law Firm   8:20‐cv‐04770‐MCR‐HTC
41.   206300 Arredondo, Felix            Tracey & Fox Law Firm   8:20‐cv‐51036‐MCR‐HTC
42.   238586 Arroyo, David               Tracey & Fox Law Firm   8:20‐cv‐84362‐MCR‐HTC
43.   183626 Ashley, Timothy             Tracey & Fox Law Firm                           8:20‐cv‐04795‐MCR‐HTC
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Row                    Plaintiff Name       Law Firm Name
         ID                                                            Number                   Number
44.    19401      Asmus, John             Tracey & Fox Law Firm   7:20‐cv‐83941‐MCR‐HTC
45.   207242 Atkin, Blake                 Tracey & Fox Law Firm   8:20‐cv‐50574‐MCR‐HTC
46.   276840 Austin, Andrew               Tracey & Fox Law Firm   9:20‐cv‐19302‐MCR‐HTC
47.   192787 Autry, Tim                   Tracey & Fox Law Firm   8:20‐cv‐54923‐MCR‐HTC
48.   156936 Azbell, Lewis                Tracey & Fox Law Firm   7:20‐cv‐98950‐MCR‐HTC
49.   192791 Azuela, Steven               Tracey & Fox Law Firm   8:20‐cv‐54932‐MCR‐HTC
50.   183633 Babcock, Esther              Tracey & Fox Law Firm   8:20‐cv‐04826‐MCR‐HTC
51.   229539 Bady, Bradford               Tracey & Fox Law Firm   8:20‐cv‐66635‐MCR‐HTC
52.   171033 Bailey, Michael              Tracey & Fox Law Firm   8:20‐cv‐05616‐MCR‐HTC
53.   238595 Bailey, Patrick              Tracey & Fox Law Firm                           8:20‐cv‐84371‐MCR‐HTC
54.   156383 Baird, Anel                  Tracey & Fox Law Firm   7:20‐cv‐98705‐MCR‐HTC
55.   229938 Baird, Jerry                 Tracey & Fox Law Firm   8:20‐cv‐67009‐MCR‐HTC
56.   206719 Baker, Daniel                Tracey & Fox Law Firm                           8:20‐cv‐50321‐MCR‐HTC
57.    19471      Baker, Stephen          Tracey & Fox Law Firm                           7:20‐cv‐84120‐MCR‐HTC
58.   355403 Ballard, John                Tracey & Fox Law Firm                           3:21‐cv‐04361‐MCR‐HTC
59.   230329 Banuelos‐Martinez, Esteban   Tracey & Fox Law Firm   8:20‐cv‐73014‐MCR‐HTC
60.   211093 Barajas, Christopher         Tracey & Fox Law Firm   8:20‐cv‐56377‐MCR‐HTC
61.    19519      Barnes, Arthur          Tracey & Fox Law Firm   7:20‐cv‐84279‐MCR‐HTC
62.   183653 Barnes, Eddie                Tracey & Fox Law Firm   8:20‐cv‐04911‐MCR‐HTC
63.   192814 Barnes, Jesse                Tracey & Fox Law Firm   8:20‐cv‐54989‐MCR‐HTC
64.   207227 Barnes, Larry                Tracey & Fox Law Firm   8:20‐cv‐52098‐MCR‐HTC
65.   171444 Barnett, David               Tracey & Fox Law Firm                           7:20‐cv‐39475‐MCR‐HTC
66.   211372 Barney, Micah                Tracey & Fox Law Firm   8:20‐cv‐57287‐MCR‐HTC
67.    19541      Barry, Kevin            Tracey & Fox Law Firm   7:20‐cv‐84358‐MCR‐HTC
68.   214792 Bart, Michael                Tracey & Fox Law Firm   8:20‐cv‐61270‐MCR‐HTC
69.   241501 Bartholomew, John            Tracey & Fox Law Firm   8:20‐cv‐88304‐MCR‐HTC
70.   318682 Baschke, Brandon             Tracey & Fox Law Firm   7:21‐cv‐34946‐MCR‐HTC
71.   249627 Basham, Brandon              Tracey & Fox Law Firm   8:20‐cv‐92171‐MCR‐HTC
72.   241502 Basham, Geoffery             Tracey & Fox Law Firm   8:20‐cv‐88305‐MCR‐HTC
73.   214795 Bates, Derrick               Tracey & Fox Law Firm   8:20‐cv‐61281‐MCR‐HTC
74.   214798 Battersby, Michael           Tracey & Fox Law Firm                           8:20‐cv‐61292‐MCR‐HTC
75.   263665 Battiest, Stephan            Tracey & Fox Law Firm   9:20‐cv‐03783‐MCR‐HTC
76.   276825 Battle, Rashawn              Tracey & Fox Law Firm   9:20‐cv‐19287‐MCR‐HTC
77.   210780 Bean, Charles                Tracey & Fox Law Firm   8:20‐cv‐56057‐MCR‐HTC
78.   260119 Bean, Michael                Tracey & Fox Law Firm   9:20‐cv‐01787‐MCR‐HTC
79.   238619 Beard, Heath                 Tracey & Fox Law Firm   8:20‐cv‐84395‐MCR‐HTC
80.    19586      Beaver, Robert          Tracey & Fox Law Firm   7:20‐cv‐84530‐MCR‐HTC
81.    19587      Becerra, Moises         Tracey & Fox Law Firm   7:20‐cv‐84535‐MCR‐HTC
82.    19596      Beddouk, Alexandra      Tracey & Fox Law Firm   7:20‐cv‐84572‐MCR‐HTC
83.   230587 Bedgood, Devan               Tracey & Fox Law Firm   8:20‐cv‐73713‐MCR‐HTC
84.   157624 Bell, Cody                   Tracey & Fox Law Firm   7:20‐cv‐99002‐MCR‐HTC
85.   238621 Bell, John                   Tracey & Fox Law Firm                           8:20‐cv‐84397‐MCR‐HTC
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86.    192831 Bell, Matthew               Tracey & Fox Law Firm   8:20‐cv‐55045‐MCR‐HTC
87.    298752 Benishek, Matthew           Tracey & Fox Law Firm   7:21‐cv‐51806‐MCR‐HTC
88.    210781 Benson, Misty               Tracey & Fox Law Firm                           8:20‐cv‐56059‐MCR‐HTC
89.    238628 Benton, Josiah              Tracey & Fox Law Firm                           8:20‐cv‐84404‐MCR‐HTC
90.    249637 Berg, Nicholas              Tracey & Fox Law Firm   8:20‐cv‐92181‐MCR‐HTC
91.     19647      Berger, Theron         Tracey & Fox Law Firm   7:20‐cv‐84853‐MCR‐HTC
92.    158171 Bergman, Stephen            Tracey & Fox Law Firm   7:20‐cv‐99004‐MCR‐HTC
93.    241506 Berkemeijer, Tomas          Tracey & Fox Law Firm                           8:20‐cv‐88309‐MCR‐HTC
94.    183675 Berkhimer, Ron              Tracey & Fox Law Firm   8:20‐cv‐04997‐MCR‐HTC
95.     19659      Berry, Aaron           Tracey & Fox Law Firm   7:20‐cv‐84906‐MCR‐HTC
96.    238632 Bertmeyer, Robert           Tracey & Fox Law Firm   8:20‐cv‐84408‐MCR‐HTC
97.    229521 Berwick, Patrick            Tracey & Fox Law Firm   8:20‐cv‐66570‐MCR‐HTC
98.    210899 Betts, Jesse                Tracey & Fox Law Firm   8:20‐cv‐56483‐MCR‐HTC
99.     19674      Bibalo, Alan           Tracey & Fox Law Firm   7:20‐cv‐84961‐MCR‐HTC
100.    19677      Biederman, Brian       Tracey & Fox Law Firm   7:20‐cv‐84972‐MCR‐HTC
101.   206024 Biggerstaff, Dustin         Tracey & Fox Law Firm                           8:20‐cv‐49839‐MCR‐HTC
102.   206386 Binosa, Michael             Tracey & Fox Law Firm   8:20‐cv‐51243‐MCR‐HTC
103.   280694 Birch, Jessie               Tracey & Fox Law Firm   7:21‐cv‐03510‐MCR‐HTC
104.    19688      Bird, Joseph           Tracey & Fox Law Firm   7:20‐cv‐85015‐MCR‐HTC
105.   170825 Bivens, Bryce               Tracey & Fox Law Firm   8:20‐cv‐02514‐MCR‐HTC
106.   206074 Bivins, Micah               Tracey & Fox Law Firm   8:20‐cv‐49999‐MCR‐HTC
107.   183685 Bizon, Richard              Tracey & Fox Law Firm                           8:20‐cv‐05030‐MCR‐HTC
108.    19710      Blackburn, Max         Tracey & Fox Law Firm   7:20‐cv‐85116‐MCR‐HTC
109.   206473 Blair, Traye                Tracey & Fox Law Firm                           8:20‐cv‐50081‐MCR‐HTC
110.   238637 Blanch, Ron                 Tracey & Fox Law Firm                           8:20‐cv‐84413‐MCR‐HTC
111.    19737      Blomeley, Brandon      Tracey & Fox Law Firm   7:20‐cv‐85247‐MCR‐HTC
112.   206416 Bloomquist, Bradley         Tracey & Fox Law Firm   8:20‐cv‐51316‐MCR‐HTC
113.   229319 Blount, Ta'shawn            Tracey & Fox Law Firm   8:20‐cv‐65951‐MCR‐HTC
114.   206851 Blue, Harold                Tracey & Fox Law Firm   8:20‐cv‐51348‐MCR‐HTC
115.    19743      Boarman, Jason         Tracey & Fox Law Firm   7:20‐cv‐85276‐MCR‐HTC
116.   238646 Bohls, Zane                 Tracey & Fox Law Firm   8:20‐cv‐84422‐MCR‐HTC
117.   170856 Boillard, Alan              Tracey & Fox Law Firm   8:20‐cv‐04624‐MCR‐HTC
118.    19764      Bonaparte, Jason       Tracey & Fox Law Firm   7:20‐cv‐85379‐MCR‐HTC
119.   192863 Booher, Christopher         Tracey & Fox Law Firm   8:20‐cv‐55165‐MCR‐HTC
120.    19776      Bootes, Jonathen       Tracey & Fox Law Firm   7:20‐cv‐85433‐MCR‐HTC
121.   157229 Borders, Clinton            Tracey & Fox Law Firm   7:20‐cv‐98783‐MCR‐HTC
122.    19793      Bostic, Ryan           Tracey & Fox Law Firm                           7:20‐cv‐85498‐MCR‐HTC
123.   206911 Boulware, Geoffrey          Tracey & Fox Law Firm   8:20‐cv‐51497‐MCR‐HTC
124.    19804      Bourque, Lorphy        Tracey & Fox Law Firm   7:20‐cv‐85534‐MCR‐HTC
125.    19806      Boutwell, Dwayne       Tracey & Fox Law Firm   7:20‐cv‐85541‐MCR‐HTC
126.   211127 Bowen, Kenyatta             Tracey & Fox Law Firm   8:20‐cv‐56491‐MCR‐HTC
127.   170828 Bowman, Lonnie              Tracey & Fox Law Firm   8:20‐cv‐02529‐MCR‐HTC
128.   205463 Boyd, Jamane                Tracey & Fox Law Firm   8:20‐cv‐48202‐MCR‐HTC
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129.    19836      Boyle, Jason           Tracey & Fox Law Firm   7:20‐cv‐85630‐MCR‐HTC
130.   238658 Brackett, Joshua            Tracey & Fox Law Firm   8:20‐cv‐84434‐MCR‐HTC
131.   183709 Brackin, Donald             Tracey & Fox Law Firm   8:20‐cv‐05097‐MCR‐HTC
132.   260124 Bradshaw, John              Tracey & Fox Law Firm   9:20‐cv‐01792‐MCR‐HTC
133.   211065 Bragg, Franklin             Tracey & Fox Law Firm   8:20‐cv‐56273‐MCR‐HTC
134.   214849 Branagan, Elizabeth         Tracey & Fox Law Firm                           8:20‐cv‐61513‐MCR‐HTC
135.   229183 Braun, Michael              Tracey & Fox Law Firm   8:20‐cv‐65713‐MCR‐HTC
136.    19870      Bravo, Michael         Tracey & Fox Law Firm                           7:20‐cv‐85728‐MCR‐HTC
137.   230270 Brazzell, Brenton           Tracey & Fox Law Firm   8:20‐cv‐72904‐MCR‐HTC
138.   210790 Brede, Jonah‐Lee            Tracey & Fox Law Firm   8:20‐cv‐56086‐MCR‐HTC
139.    19872      Breland, David         Tracey & Fox Law Firm   7:20‐cv‐85734‐MCR‐HTC
140.   157268 Brewer, Beau                Tracey & Fox Law Firm   7:20‐cv‐98792‐MCR‐HTC
141.   249654 Brewer, Frezzell            Tracey & Fox Law Firm   8:20‐cv‐92198‐MCR‐HTC
142.   205508 Brewer, Michael             Tracey & Fox Law Firm   8:20‐cv‐50368‐MCR‐HTC
143.   249655 Brezinski, Keith            Tracey & Fox Law Firm   8:20‐cv‐92199‐MCR‐HTC
144.   183717 Bridge, Zach                Tracey & Fox Law Firm   8:20‐cv‐05114‐MCR‐HTC
145.   238666 Briggs, Allen               Tracey & Fox Law Firm   8:20‐cv‐84442‐MCR‐HTC
146.    19890      Bright, Daniel         Tracey & Fox Law Firm   7:20‐cv‐85808‐MCR‐HTC
147.    19900      Brinson, Aaron         Tracey & Fox Law Firm                           7:20‐cv‐85818‐MCR‐HTC
148.   238670 Bristol, Ryan               Tracey & Fox Law Firm   8:20‐cv‐84447‐MCR‐HTC
149.    19907      Brito, Tristan         Tracey & Fox Law Firm   7:20‐cv‐85831‐MCR‐HTC
150.   214860 Brodeur, Shane              Tracey & Fox Law Firm   8:20‐cv‐61566‐MCR‐HTC
151.   326422 Brookins, Dedrick           Tracey & Fox Law Firm   7:21‐cv‐44454‐MCR‐HTC
152.    19928      Broussard, Jason       Tracey & Fox Law Firm   7:20‐cv‐85830‐MCR‐HTC
153.   192901 Brown, Casey                Tracey & Fox Law Firm   8:20‐cv‐55686‐MCR‐HTC
154.   230072 Brown, Divonte              Tracey & Fox Law Firm                           8:20‐cv‐67261‐MCR‐HTC
155.   229833 Brown, James                Tracey & Fox Law Firm   8:20‐cv‐66535‐MCR‐HTC
156.    19962      Brown, Justin          Tracey & Fox Law Firm   7:20‐cv‐85879‐MCR‐HTC
157.    19949      Brown, Lamadrae        Tracey & Fox Law Firm   7:20‐cv‐85866‐MCR‐HTC
158.   346050 Brown, Lanisha              Tracey & Fox Law Firm                           7:21‐cv‐64502‐MCR‐HTC
159.   229274 Brown, Lasheema             Tracey & Fox Law Firm   8:20‐cv‐65881‐MCR‐HTC
160.    19946      Brown, Rance           Tracey & Fox Law Firm                           7:20‐cv‐85863‐MCR‐HTC
161.    19958      Brown, Randall         Tracey & Fox Law Firm                           7:20‐cv‐85875‐MCR‐HTC
162.   211020 Brown, Stafford             Tracey & Fox Law Firm   8:20‐cv‐56914‐MCR‐HTC
163.    19960      Brown, Thomas          Tracey & Fox Law Firm   7:20‐cv‐85877‐MCR‐HTC
164.   192902 Brown, Zachrey              Tracey & Fox Law Firm   8:20‐cv‐55688‐MCR‐HTC
165.   238681 Brownlee, Robert            Tracey & Fox Law Firm   8:20‐cv‐84467‐MCR‐HTC
166.   171501 Bryan, Auburn               Tracey & Fox Law Firm   8:20‐cv‐01971‐MCR‐HTC
167.    19990      Bryant, Michael        Tracey & Fox Law Firm   7:20‐cv‐85924‐MCR‐HTC
168.   260130 Bryant, Paul                Tracey & Fox Law Firm   9:20‐cv‐01798‐MCR‐HTC
169.    19995      Bryant‐Cook, Joshua    Tracey & Fox Law Firm                           7:20‐cv‐85937‐MCR‐HTC
170.   249664 Buckner, Shilo              Tracey & Fox Law Firm   8:20‐cv‐92208‐MCR‐HTC
171.    20011      Bueno, Victor          Tracey & Fox Law Firm                           7:20‐cv‐85976‐MCR‐HTC
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172.    20016      Bullock, Lakendra      Tracey & Fox Law Firm   7:20‐cv‐85988‐MCR‐HTC
173.    20018      Bunce, Jeremy          Tracey & Fox Law Firm                           7:20‐cv‐85992‐MCR‐HTC
174.    20031      Burke, Kenneth         Tracey & Fox Law Firm   7:20‐cv‐86023‐MCR‐HTC
175.   274032 Burks, Christopher          Tracey & Fox Law Firm   9:20‐cv‐15696‐MCR‐HTC
176.   214881 Burlison, Jason             Tracey & Fox Law Firm   8:20‐cv‐61673‐MCR‐HTC
177.   268374 Burney, Cremel              Tracey & Fox Law Firm   9:20‐cv‐17328‐MCR‐HTC
178.    20047      Burns, Collin          Tracey & Fox Law Firm   7:20‐cv‐86065‐MCR‐HTC
179.   211021 Burns, Scott                Tracey & Fox Law Firm                           8:20‐cv‐56918‐MCR‐HTC
180.   249670 Burnside, Paulo             Tracey & Fox Law Firm   8:20‐cv‐92214‐MCR‐HTC
181.   171434 Burrell, Creighton          Tracey & Fox Law Firm                           8:20‐cv‐01830‐MCR‐HTC
182.   229349 Burruel, Joshua             Tracey & Fox Law Firm   8:20‐cv‐66004‐MCR‐HTC
183.   211224 Burton, Jimmy               Tracey & Fox Law Firm   8:20‐cv‐56853‐MCR‐HTC
184.   183745 Burton, Jonathon            Tracey & Fox Law Firm   8:20‐cv‐05197‐MCR‐HTC
185.    20061      Bush, Darrin           Tracey & Fox Law Firm   7:20‐cv‐87286‐MCR‐HTC
186.   238695 Bustamante, Victor          Tracey & Fox Law Firm   8:20‐cv‐84493‐MCR‐HTC
187.   171041 Butler, Preston             Tracey & Fox Law Firm   8:20‐cv‐05675‐MCR‐HTC
188.    20072      Butler, Samuel         Tracey & Fox Law Firm   7:20‐cv‐87296‐MCR‐HTC
189.   263724 Buzbee, Jason               Tracey & Fox Law Firm   9:20‐cv‐03842‐MCR‐HTC
190.   171133 Byl, Brendon                Tracey & Fox Law Firm   8:20‐cv‐06751‐MCR‐HTC
191.    20087      Bynum, Deometae        Tracey & Fox Law Firm   7:20‐cv‐87309‐MCR‐HTC
192.   206805 Cabadas, Leonardo           Tracey & Fox Law Firm   8:20‐cv‐50362‐MCR‐HTC
193.   211043 Cabral, Nicholas            Tracey & Fox Law Firm   8:20‐cv‐56183‐MCR‐HTC
194.   258456 Caddell, Joshua             Tracey & Fox Law Firm   9:20‐cv‐15472‐MCR‐HTC
195.   238701 Caetano, Joe                Tracey & Fox Law Firm   8:20‐cv‐84505‐MCR‐HTC
196.   238702 Cagle, David                Tracey & Fox Law Firm   8:20‐cv‐84507‐MCR‐HTC
197.   156770 Caines, Aaron               Tracey & Fox Law Firm   7:20‐cv‐98846‐MCR‐HTC
198.   211323 Cajulis, Josefino           Tracey & Fox Law Firm   8:20‐cv‐57157‐MCR‐HTC
199.    20108      Calderon, John         Tracey & Fox Law Firm                           7:20‐cv‐87351‐MCR‐HTC
200.   214895 Caldwell, Albert            Tracey & Fox Law Firm   8:20‐cv‐61762‐MCR‐HTC
201.   192932 Callahan, John              Tracey & Fox Law Firm   8:20‐cv‐55775‐MCR‐HTC
202.    20130      Camarena, Omar         Tracey & Fox Law Firm                           7:20‐cv‐87398‐MCR‐HTC
203.   214897 Camargo, Aron               Tracey & Fox Law Firm                           8:20‐cv‐61773‐MCR‐HTC
204.   205623 Campbell, Kenneth           Tracey & Fox Law Firm   8:20‐cv‐48621‐MCR‐HTC
205.   211373 Campbell, Kyle              Tracey & Fox Law Firm   8:20‐cv‐57289‐MCR‐HTC
206.    20143      Canaday, James         Tracey & Fox Law Firm   7:20‐cv‐87804‐MCR‐HTC
207.   238709 Cancel, Willy               Tracey & Fox Law Firm   8:20‐cv‐84520‐MCR‐HTC
208.   359913 Candler, Travis             Tracey & Fox Law Firm                           3:22‐cv‐03662‐MCR‐HTC
209.   268494 Canion, Claudie             Tracey & Fox Law Firm   9:20‐cv‐18171‐MCR‐HTC
210.   214903 Cannon, Larondre            Tracey & Fox Law Firm   8:20‐cv‐61805‐MCR‐HTC
211.    20151      Cantera, Efrain        Tracey & Fox Law Firm   7:20‐cv‐87811‐MCR‐HTC
212.    20155      Cantrell, Joseph       Tracey & Fox Law Firm   7:20‐cv‐87815‐MCR‐HTC
213.    20156      Cantu, Emanuel         Tracey & Fox Law Firm                           7:20‐cv‐87816‐MCR‐HTC
214.   192942 Capps, David                Tracey & Fox Law Firm                           8:20‐cv‐55798‐MCR‐HTC
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215.   192944 Cardella, Anthony           Tracey & Fox Law Firm   8:20‐cv‐55802‐MCR‐HTC
216.   293762 Cardenas, Paul              Tracey & Fox Law Firm   7:21‐cv‐51799‐MCR‐HTC
217.    20179      Carothers, Jack        Tracey & Fox Law Firm                           7:20‐cv‐87838‐MCR‐HTC
218.   263775 Carp, Craig                 Tracey & Fox Law Firm   9:20‐cv‐03893‐MCR‐HTC
219.    20181      Carpenter, Steven      Tracey & Fox Law Firm   7:20‐cv‐87840‐MCR‐HTC
220.   276858 Carr, Kyle                  Tracey & Fox Law Firm   9:20‐cv‐19320‐MCR‐HTC
221.   229558 Carroll, Brandy             Tracey & Fox Law Firm   8:20‐cv‐66705‐MCR‐HTC
222.   249685 Carroll, Michael            Tracey & Fox Law Firm   8:20‐cv‐92229‐MCR‐HTC
223.   205768 Carrozza, Raymond           Tracey & Fox Law Firm   8:20‐cv‐48798‐MCR‐HTC
224.   192955 Carter, Joseph              Tracey & Fox Law Firm                           8:20‐cv‐55826‐MCR‐HTC
225.   160058 Carter, Robert              Tracey & Fox Law Firm   7:20‐cv‐99340‐MCR‐HTC
226.   157413 Casey, Joseph               Tracey & Fox Law Firm   7:20‐cv‐98863‐MCR‐HTC
227.   277008 Casey, Ronald               Tracey & Fox Law Firm   9:20‐cv‐19887‐MCR‐HTC
228.    20218      Casiano, Edwin         Tracey & Fox Law Firm   7:20‐cv‐87900‐MCR‐HTC
229.   192962 Castellanos, Daniel         Tracey & Fox Law Firm                           8:20‐cv‐55841‐MCR‐HTC
230.    20225      Castillejo, Benjamin   Tracey & Fox Law Firm   7:20‐cv‐87916‐MCR‐HTC
231.    20232      Castro, Joshua         Tracey & Fox Law Firm   7:20‐cv‐87932‐MCR‐HTC
232.    20243      Cazares, Aurelio       Tracey & Fox Law Firm   7:20‐cv‐87966‐MCR‐HTC
233.    20247      Cepeda, Jonathan       Tracey & Fox Law Firm   7:20‐cv‐87977‐MCR‐HTC
234.   276820 Chadwick, Cleffton          Tracey & Fox Law Firm   9:20‐cv‐19282‐MCR‐HTC
235.   273985 Chakos, Aubrie              Tracey & Fox Law Firm   9:20‐cv‐15649‐MCR‐HTC
236.   192971 Chamberlin, Shane           Tracey & Fox Law Firm   8:20‐cv‐55861‐MCR‐HTC
237.   192975 Champoux, Adam              Tracey & Fox Law Firm                           8:20‐cv‐55870‐MCR‐HTC
238.   214919 Chapman, Justin             Tracey & Fox Law Firm   8:20‐cv‐61891‐MCR‐HTC
239.   258499 Chapman, Thomas             Tracey & Fox Law Firm   9:20‐cv‐15563‐MCR‐HTC
240.   214921 Charland, Michael           Tracey & Fox Law Firm   8:20‐cv‐61903‐MCR‐HTC
241.   238735 Charles, Kevin              Tracey & Fox Law Firm   8:20‐cv‐84568‐MCR‐HTC
242.    20282      Chavez, Alfredo        Tracey & Fox Law Firm   7:20‐cv‐88309‐MCR‐HTC
243.   210993 Chavez, Anthony             Tracey & Fox Law Firm                           8:20‐cv‐56816‐MCR‐HTC
244.   238737 Chavez, Edwardo             Tracey & Fox Law Firm                           8:20‐cv‐84571‐MCR‐HTC
245.   241535 Chavez, Nirisi              Tracey & Fox Law Firm   8:20‐cv‐88338‐MCR‐HTC
246.   206626 Chaytor, Samuel             Tracey & Fox Law Firm   8:20‐cv‐51786‐MCR‐HTC
247.    20287      Check, Bryson          Tracey & Fox Law Firm                           7:20‐cv‐88321‐MCR‐HTC
248.    20289      Cheetham, William      Tracey & Fox Law Firm   7:20‐cv‐88325‐MCR‐HTC
249.   356425 Cherney, Scott              Tracey & Fox Law Firm                           3:22‐cv‐00509‐MCR‐HTC
250.   230435 Chirchin, Goran             Tracey & Fox Law Firm   8:20‐cv‐73181‐MCR‐HTC
251.   183810 Chojnacki, Amanda           Tracey & Fox Law Firm   8:20‐cv‐05687‐MCR‐HTC
252.   260139 Chrocken, Jomarken          Tracey & Fox Law Firm                           9:20‐cv‐01807‐MCR‐HTC
253.   214926 Chychota, Steven            Tracey & Fox Law Firm   8:20‐cv‐61929‐MCR‐HTC
254.   241537 Cicero, Nicholas            Tracey & Fox Law Firm   8:20‐cv‐88340‐MCR‐HTC
255.   171347 Clark, Jennifer             Tracey & Fox Law Firm   8:20‐cv‐01730‐MCR‐HTC
256.    20336      Clarke, James          Tracey & Fox Law Firm   7:20‐cv‐88414‐MCR‐HTC
257.    20348      Claytor, Nichol        Tracey & Fox Law Firm                           7:20‐cv‐88442‐MCR‐HTC
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       Plaintiff                                                   Admin Docket Case       Active Docket Case
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258.   274127 Clemmons, Kyron             Tracey & Fox Law Firm   9:20‐cv‐15791‐MCR‐HTC
259.    20355      Clemons, Craig         Tracey & Fox Law Firm   7:20‐cv‐88458‐MCR‐HTC
260.    20359      Cline, James           Tracey & Fox Law Firm   7:20‐cv‐88467‐MCR‐HTC
261.   229769 Clobes, Michael             Tracey & Fox Law Firm   8:20‐cv‐66292‐MCR‐HTC
262.   249702 Cluff, Erin                 Tracey & Fox Law Firm                           8:20‐cv‐92246‐MCR‐HTC
263.   238752 Coakley, David              Tracey & Fox Law Firm                           8:20‐cv‐84598‐MCR‐HTC
264.    20367      Coburn, David          Tracey & Fox Law Firm   7:20‐cv‐88485‐MCR‐HTC
265.   206303 Cole, Tabitha               Tracey & Fox Law Firm   8:20‐cv‐51043‐MCR‐HTC
266.   156763 Cole, Theodore              Tracey & Fox Law Firm   7:20‐cv‐98844‐MCR‐HTC
267.   241543 Colella, Chris              Tracey & Fox Law Firm   8:20‐cv‐88346‐MCR‐HTC
268.    20390      Coleman, Teddy         Tracey & Fox Law Firm   7:20‐cv‐88538‐MCR‐HTC
269.    20396      Colley, Roy            Tracey & Fox Law Firm                           7:20‐cv‐88549‐MCR‐HTC
270.    20399      Collier, Casey         Tracey & Fox Law Firm   7:20‐cv‐88556‐MCR‐HTC
271.    20398      Collier, Nicholas      Tracey & Fox Law Firm   7:20‐cv‐88554‐MCR‐HTC
272.   249706 Collier, Ronnie             Tracey & Fox Law Firm   8:20‐cv‐92250‐MCR‐HTC
273.   241545 Collier, Sonja              Tracey & Fox Law Firm   8:20‐cv‐88348‐MCR‐HTC
274.   258484 Collins, Cammie             Tracey & Fox Law Firm                           9:20‐cv‐15531‐MCR‐HTC
275.   249707 Collins, Carl               Tracey & Fox Law Firm   8:20‐cv‐92251‐MCR‐HTC
276.   280617 Colmon, Lebra               Tracey & Fox Law Firm   7:21‐cv‐03418‐MCR‐HTC
277.   210793 Conic, Laquan               Tracey & Fox Law Firm   8:20‐cv‐56095‐MCR‐HTC
278.   241547 Conkright, Andrew           Tracey & Fox Law Firm   8:20‐cv‐88350‐MCR‐HTC
279.   183839 Conner, Kevin               Tracey & Fox Law Firm                           8:20‐cv‐05862‐MCR‐HTC
280.   241548 Connor, Ulen                Tracey & Fox Law Firm   8:20‐cv‐88351‐MCR‐HTC
281.    20434      Conroy, Nicholas       Tracey & Fox Law Firm   7:20‐cv‐88631‐MCR‐HTC
282.    20439      Cook, Isaiah           Tracey & Fox Law Firm   7:20‐cv‐88640‐MCR‐HTC
283.   229636 Cook, Jebediah              Tracey & Fox Law Firm   8:20‐cv‐67074‐MCR‐HTC
284.   183846 Cook, William               Tracey & Fox Law Firm   8:20‐cv‐05908‐MCR‐HTC
285.   230192 Coon, David                 Tracey & Fox Law Firm   8:20‐cv‐72757‐MCR‐HTC
286.   229971 Cooper, Andrew              Tracey & Fox Law Firm   8:20‐cv‐67128‐MCR‐HTC
287.    20455      Cooper, Devin          Tracey & Fox Law Firm   7:20‐cv‐89048‐MCR‐HTC
288.   238773 Cooper, Keith               Tracey & Fox Law Firm   8:20‐cv‐84654‐MCR‐HTC
289.    20454      Cooper, Ryne           Tracey & Fox Law Firm   7:20‐cv‐89045‐MCR‐HTC
290.   263712 Corn, Jessey                Tracey & Fox Law Firm   9:20‐cv‐03830‐MCR‐HTC
291.   354430 Cornelius, Cody             Tracey & Fox Law Firm                           3:21‐cv‐02964‐MCR‐HTC
292.    20486      Cosgray, Corey         Tracey & Fox Law Firm   7:20‐cv‐89152‐MCR‐HTC
293.   211284 Costa, Jared                Tracey & Fox Law Firm   8:20‐cv‐57046‐MCR‐HTC
294.   322275 Costa, Ronald               Tracey & Fox Law Firm   7:21‐cv‐38501‐MCR‐HTC
295.   355999 Cotten, Lance               Tracey & Fox Law Firm                           3:22‐cv‐00111‐MCR‐HTC
296.   356005 Coughlin, Joseph            Tracey & Fox Law Firm                           3:22‐cv‐00128‐MCR‐HTC
297.   274020 Covrig, Travis              Tracey & Fox Law Firm   9:20‐cv‐15684‐MCR‐HTC
298.   211189 Cox, Dusty                  Tracey & Fox Law Firm   8:20‐cv‐56704‐MCR‐HTC
299.    20515      Coyle, James           Tracey & Fox Law Firm                           7:20‐cv‐89232‐MCR‐HTC
300.    20523      Craig, David           Tracey & Fox Law Firm   7:20‐cv‐89257‐MCR‐HTC
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301.   183862 Craig, Jonathan             Tracey & Fox Law Firm   8:20‐cv‐06010‐MCR‐HTC
302.   171151 Craig, Zachary              Tracey & Fox Law Firm   8:20‐cv‐06835‐MCR‐HTC
303.    20529      Craven, Shaun          Tracey & Fox Law Firm   7:20‐cv‐89272‐MCR‐HTC
304.   206452 Crawford, Jeffrey           Tracey & Fox Law Firm   8:20‐cv‐51403‐MCR‐HTC
305.    20536      Crawford, Sean         Tracey & Fox Law Firm   7:20‐cv‐89288‐MCR‐HTC
306.   206144 Creameans, Benjamin         Tracey & Fox Law Firm   8:20‐cv‐50603‐MCR‐HTC
307.    20554      Cripe, Ben             Tracey & Fox Law Firm   7:20‐cv‐89329‐MCR‐HTC
308.    20559      Crispo, Kyle           Tracey & Fox Law Firm   7:20‐cv‐89340‐MCR‐HTC
309.   193038 Critchfield, Brian          Tracey & Fox Law Firm   8:20‐cv‐56043‐MCR‐HTC
310.   193040 Crooms, Jacob               Tracey & Fox Law Firm   8:20‐cv‐56050‐MCR‐HTC
311.   277006 Crosby, James               Tracey & Fox Law Firm   9:20‐cv‐19884‐MCR‐HTC
312.   229467 Crouch, Joshua              Tracey & Fox Law Firm                           8:20‐cv‐66377‐MCR‐HTC
313.   263718 Croucher, Michael           Tracey & Fox Law Firm   9:20‐cv‐03836‐MCR‐HTC
314.   229969 Crum, Joshua                Tracey & Fox Law Firm   8:20‐cv‐67122‐MCR‐HTC
315.   263706 Cruz, Bryan                 Tracey & Fox Law Firm                           9:20‐cv‐03824‐MCR‐HTC
316.   352672 Cruz, Edwin                 Tracey & Fox Law Firm                           3:21‐cv‐01934‐MCR‐HTC
317.   206448 Cruz, Robert                Tracey & Fox Law Firm   8:20‐cv‐51392‐MCR‐HTC
318.    20579      Cubillos, Manuel       Tracey & Fox Law Firm   7:20‐cv‐89423‐MCR‐HTC
319.   183874 Cuddington, Horace          Tracey & Fox Law Firm   8:20‐cv‐06069‐MCR‐HTC
320.    20586      Cuffee, Tykecia        Tracey & Fox Law Firm   7:20‐cv‐89439‐MCR‐HTC
321.   156811 Cummings, Dante             Tracey & Fox Law Firm   7:20‐cv‐98876‐MCR‐HTC
322.   206657 Cummings, Thomas            Tracey & Fox Law Firm   8:20‐cv‐51869‐MCR‐HTC
323.   229639 Cuomo, Michael              Tracey & Fox Law Firm   8:20‐cv‐67086‐MCR‐HTC
324.    20607      Curtis, Charles        Tracey & Fox Law Firm   7:20‐cv‐89482‐MCR‐HTC
325.   206425 Curtis, Joshua              Tracey & Fox Law Firm   8:20‐cv‐51331‐MCR‐HTC
326.   238800 Curtis, Thomas              Tracey & Fox Law Firm   8:20‐cv‐84733‐MCR‐HTC
327.    20620      Dale, Jeremy           Tracey & Fox Law Firm   7:20‐cv‐89511‐MCR‐HTC
328.   238805 Dalrymple, Bryar            Tracey & Fox Law Firm   8:20‐cv‐84757‐MCR‐HTC
329.   354437 Damico, James               Tracey & Fox Law Firm                           3:21‐cv‐02965‐MCR‐HTC
330.   183886 Dancel, Danie               Tracey & Fox Law Firm   8:20‐cv‐06128‐MCR‐HTC
331.    20637      Danniballe, David      Tracey & Fox Law Firm   7:20‐cv‐89547‐MCR‐HTC
332.    20640      Darden, Michael        Tracey & Fox Law Firm   7:20‐cv‐89551‐MCR‐HTC
333.   210799 Davenport, Chance           Tracey & Fox Law Firm   8:20‐cv‐56117‐MCR‐HTC
334.    20646      Davenport, Darren      Tracey & Fox Law Firm   7:20‐cv‐89565‐MCR‐HTC
335.    20652      Davies, Allen          Tracey & Fox Law Firm   7:20‐cv‐89579‐MCR‐HTC
336.   260143 Davies, Charles             Tracey & Fox Law Firm   9:20‐cv‐01811‐MCR‐HTC
337.   263666 Davis, Anthony              Tracey & Fox Law Firm                           9:20‐cv‐03784‐MCR‐HTC
338.    20689      Davis, Bryant          Tracey & Fox Law Firm   7:20‐cv‐89634‐MCR‐HTC
339.    20658      Davis, Jeremy          Tracey & Fox Law Firm   7:20‐cv‐89605‐MCR‐HTC
340.   183896 Davis, John                 Tracey & Fox Law Firm   8:20‐cv‐06176‐MCR‐HTC
341.   258437 Davis, Matthew              Tracey & Fox Law Firm                           9:20‐cv‐15432‐MCR‐HTC
342.   214980 Davis, Michael              Tracey & Fox Law Firm   8:20‐cv‐62221‐MCR‐HTC
343.   206492 Davis, Paul                 Tracey & Fox Law Firm   8:20‐cv‐51474‐MCR‐HTC
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344.   249735 Davis, Robert               Tracey & Fox Law Firm   8:20‐cv‐92279‐MCR‐HTC
345.   205960 Davis, Sean                 Tracey & Fox Law Firm   8:20‐cv‐49656‐MCR‐HTC
346.   183899 Davis, Tanisha              Tracey & Fox Law Firm   8:20‐cv‐06191‐MCR‐HTC
347.   276838 Dawson, Jared               Tracey & Fox Law Firm   9:20‐cv‐19300‐MCR‐HTC
348.   276940 Dawson, Jesse               Tracey & Fox Law Firm   9:20‐cv‐19772‐MCR‐HTC
349.   211231 Dawson, Richard             Tracey & Fox Law Firm   8:20‐cv‐56880‐MCR‐HTC
350.   214982 Deal, Justin                Tracey & Fox Law Firm                           8:20‐cv‐62231‐MCR‐HTC
351.   230207 Dean, Chad                  Tracey & Fox Law Firm   8:20‐cv‐72786‐MCR‐HTC
352.   206071 Dean, Deandre               Tracey & Fox Law Firm   8:20‐cv‐50590‐MCR‐HTC
353.   183901 Dean, Jared                 Tracey & Fox Law Firm   8:20‐cv‐06202‐MCR‐HTC
354.    20710      Deater, Bryan          Tracey & Fox Law Firm   7:20‐cv‐89652‐MCR‐HTC
355.    20711      Deaver, Matthew        Tracey & Fox Law Firm                           7:20‐cv‐89653‐MCR‐HTC
356.   206500 Deavy, John                 Tracey & Fox Law Firm   8:20‐cv‐51493‐MCR‐HTC
357.    20721      Decoteau, Tyrrell      Tracey & Fox Law Firm   7:20‐cv‐89673‐MCR‐HTC
358.   183907 Defrates, Sharaya           Tracey & Fox Law Firm   8:20‐cv‐07146‐MCR‐HTC
359.    20738      Delagarza, Michael     Tracey & Fox Law Firm   7:20‐cv‐89715‐MCR‐HTC
360.   241561 Delange, Jason              Tracey & Fox Law Firm   8:20‐cv‐88364‐MCR‐HTC
361.   355859 Delao, James                Tracey & Fox Law Firm                           3:21‐cv‐04804‐MCR‐HTC
362.    20743      Delayo, David          Tracey & Fox Law Firm   7:20‐cv‐89732‐MCR‐HTC
363.    20748      Delgado, Jose          Tracey & Fox Law Firm   7:20‐cv‐89746‐MCR‐HTC
364.   214988 Dellechiaie, Dakota         Tracey & Fox Law Firm                           8:20‐cv‐62263‐MCR‐HTC
365.   241563 Deloa, Rebecca              Tracey & Fox Law Firm   8:20‐cv‐88366‐MCR‐HTC
366.    20759      Demers, Luke           Tracey & Fox Law Firm   7:20‐cv‐89781‐MCR‐HTC
367.   214990 Demery, Malcolm             Tracey & Fox Law Firm   8:20‐cv‐62274‐MCR‐HTC
368.   210841 Demmert, Christopher        Tracey & Fox Law Firm   8:20‐cv‐56287‐MCR‐HTC
369.   238819 Deniger, Gabriel            Tracey & Fox Law Firm   8:20‐cv‐84829‐MCR‐HTC
370.   258424 Denning, David              Tracey & Fox Law Firm                           9:20‐cv‐15405‐MCR‐HTC
371.   193077 Deperro, Nhelmar            Tracey & Fox Law Firm   8:20‐cv‐56249‐MCR‐HTC
372.    20774      Depue, Zachary         Tracey & Fox Law Firm   7:20‐cv‐89835‐MCR‐HTC
373.   205118 Derby, Jonathan             Tracey & Fox Law Firm   8:20‐cv‐50114‐MCR‐HTC
374.   205988 Derksen, Trevor             Tracey & Fox Law Firm   8:20‐cv‐49726‐MCR‐HTC
375.   214993 Desatnik, Brian             Tracey & Fox Law Firm   8:20‐cv‐62290‐MCR‐HTC
376.   183916 Desimone, John              Tracey & Fox Law Firm   8:20‐cv‐07210‐MCR‐HTC
377.    20784      Dessuit, Jeffery       Tracey & Fox Law Firm   7:20‐cv‐89865‐MCR‐HTC
378.   210784 Dewitt, Gerald              Tracey & Fox Law Firm   8:20‐cv‐56068‐MCR‐HTC
379.    20791      Deyoung, Mark          Tracey & Fox Law Firm   7:20‐cv‐89891‐MCR‐HTC
380.   214996 Dhondup, Tashi              Tracey & Fox Law Firm   8:20‐cv‐62308‐MCR‐HTC
381.   183919 Diamanti, Aric              Tracey & Fox Law Firm   8:20‐cv‐07233‐MCR‐HTC
382.    20801      Diaz, Fernando         Tracey & Fox Law Firm   7:20‐cv‐89926‐MCR‐HTC
383.   230379 Diaz, Jesus                 Tracey & Fox Law Firm   8:20‐cv‐73085‐MCR‐HTC
384.   205678 Dillard, Chenise            Tracey & Fox Law Firm                           8:20‐cv‐50428‐MCR‐HTC
385.    20830      Dixon, James           Tracey & Fox Law Firm   7:20‐cv‐90352‐MCR‐HTC
386.   214999 Dixon, Jerry                Tracey & Fox Law Firm   8:20‐cv‐62324‐MCR‐HTC
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387.   206375 Dixon, Kendall               Tracey & Fox Law Firm   8:20‐cv‐49964‐MCR‐HTC
388.    20839      Dixon, Quinton          Tracey & Fox Law Firm   7:20‐cv‐90378‐MCR‐HTC
389.   263748 Dobbins, Brad                Tracey & Fox Law Firm   9:20‐cv‐03866‐MCR‐HTC
390.   183930 Doddy, Gene                  Tracey & Fox Law Firm                           8:20‐cv‐07327‐MCR‐HTC
391.    20850      Doherty, Robert         Tracey & Fox Law Firm   7:20‐cv‐90412‐MCR‐HTC
392.   230363 Doiron, Todd                 Tracey & Fox Law Firm   8:20‐cv‐73069‐MCR‐HTC
393.   249752 Dolak, Daniel                Tracey & Fox Law Firm   8:20‐cv‐92296‐MCR‐HTC
394.    20853      Dombrowski, Justin      Tracey & Fox Law Firm   7:20‐cv‐90422‐MCR‐HTC
395.    20212      Done                    Tracey & Fox Law Firm   7:20‐cv‐87887‐MCR‐HTC
396.   156501 Done                         Tracey & Fox Law Firm   7:20‐cv‐98727‐MCR‐HTC
397.   158105 Done                         Tracey & Fox Law Firm   7:20‐cv‐98955‐MCR‐HTC
398.   184468 Done                         Tracey & Fox Law Firm   8:20‐cv‐11000‐MCR‐HTC
399.   184618 Done                         Tracey & Fox Law Firm   8:20‐cv‐06639‐MCR‐HTC
400.   206578 Done                         Tracey & Fox Law Firm   8:20‐cv‐51649‐MCR‐HTC
401.   206873 Done                         Tracey & Fox Law Firm                           8:20‐cv‐51405‐MCR‐HTC
402.    20857      Dones, Michael          Tracey & Fox Law Firm   7:20‐cv‐90435‐MCR‐HTC
403.    20868      Doss, Darry             Tracey & Fox Law Firm   7:20‐cv‐00041‐MCR‐HTC
404.   229804 Dotey, Kenneth               Tracey & Fox Law Firm   8:20‐cv‐66428‐MCR‐HTC
405.   193092 Doty, Tristin                Tracey & Fox Law Firm   8:20‐cv‐56629‐MCR‐HTC
406.   238837 Douglas, Quentin             Tracey & Fox Law Firm   8:20‐cv‐85184‐MCR‐HTC
407.    20887      Downer, Keith           Tracey & Fox Law Firm   7:20‐cv‐90619‐MCR‐HTC
408.   183940 Downs, Tony                  Tracey & Fox Law Firm   8:20‐cv‐07393‐MCR‐HTC
409.   229973 Doyle, Jayson                Tracey & Fox Law Firm   8:20‐cv‐67134‐MCR‐HTC
410.   356039 Drezden, Daniel              Tracey & Fox Law Firm                           3:22‐cv‐00178‐MCR‐HTC
411.   230240 Drysdale, Alva               Tracey & Fox Law Firm                           8:20‐cv‐72848‐MCR‐HTC
412.    20911      Duartegathings, Derek   Tracey & Fox Law Firm   7:20‐cv‐90643‐MCR‐HTC
413.   171314 Dukas, Michael               Tracey & Fox Law Firm                           8:20‐cv‐08461‐MCR‐HTC
414.    20922      Duke, Marcus            Tracey & Fox Law Firm   7:20‐cv‐90653‐MCR‐HTC
415.   276831 Dukes, Johnathan             Tracey & Fox Law Firm   9:20‐cv‐19293‐MCR‐HTC
416.   274155 Duncan, Dylan                Tracey & Fox Law Firm   9:20‐cv‐15819‐MCR‐HTC
417.   238844 Duncan, Jacob                Tracey & Fox Law Firm   8:20‐cv‐85192‐MCR‐HTC
418.   211022 Dunn, Jarred                 Tracey & Fox Law Firm   8:20‐cv‐56922‐MCR‐HTC
419.   215012 Duran, Ronald                Tracey & Fox Law Firm   8:20‐cv‐61378‐MCR‐HTC
420.   183946 Durga, Thomas                Tracey & Fox Law Firm                           8:20‐cv‐07430‐MCR‐HTC
421.   193107 Durham, Nicholas             Tracey & Fox Law Firm   8:20‐cv‐56688‐MCR‐HTC
422.   193109 Durkee, Jordan               Tracey & Fox Law Firm   8:20‐cv‐56698‐MCR‐HTC
423.   193111 Dyke, Jackie                 Tracey & Fox Law Firm                           8:20‐cv‐56707‐MCR‐HTC
424.   268372 Dykes, Troy                  Tracey & Fox Law Firm   9:20‐cv‐17324‐MCR‐HTC
425.   249758 Earley, Shon                 Tracey & Fox Law Firm   8:20‐cv‐92302‐MCR‐HTC
426.   159091 Easley, Herticene            Tracey & Fox Law Firm   7:20‐cv‐99176‐MCR‐HTC
427.    20983      Easterday, Robin        Tracey & Fox Law Firm   7:20‐cv‐92654‐MCR‐HTC
428.   157931 Eaves, Kyle                  Tracey & Fox Law Firm   7:20‐cv‐99192‐MCR‐HTC
429.   215018 Eckard, Nichole              Tracey & Fox Law Firm   8:20‐cv‐61404‐MCR‐HTC
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430.   354449 Ecklund, Caleb              Tracey & Fox Law Firm                           3:21‐cv‐03393‐MCR‐HTC
431.    20997      Edmonds, Matthew       Tracey & Fox Law Firm   7:20‐cv‐92671‐MCR‐HTC
432.   230198 Edwards, Jermaine           Tracey & Fox Law Firm   8:20‐cv‐72769‐MCR‐HTC
433.   158244 Ehlert, Richard             Tracey & Fox Law Firm   7:20‐cv‐99050‐MCR‐HTC
434.   183960 Elder, Christopher          Tracey & Fox Law Firm   8:20‐cv‐07512‐MCR‐HTC
435.   205864 Elder, Roy                  Tracey & Fox Law Firm                           8:20‐cv‐49447‐MCR‐HTC
436.   352673 Elliott, Daric              Tracey & Fox Law Firm                           3:21‐cv‐01936‐MCR‐HTC
437.   326376 Elliott, Matthew            Tracey & Fox Law Firm                           7:21‐cv‐44408‐MCR‐HTC
438.    21033      Ellis, Bennie          Tracey & Fox Law Firm                           7:20‐cv‐92744‐MCR‐HTC
439.   298756 Ellison, Jessy              Tracey & Fox Law Firm                           7:21‐cv‐51810‐MCR‐HTC
440.   229238 Ellyson, Kyle               Tracey & Fox Law Firm   8:20‐cv‐65815‐MCR‐HTC
441.   274040 Elms, Timothy               Tracey & Fox Law Firm   9:20‐cv‐15704‐MCR‐HTC
442.   260154 Elnour, Adil                Tracey & Fox Law Firm   9:20‐cv‐01822‐MCR‐HTC
443.   241578 Elsass, Joseph              Tracey & Fox Law Firm   8:20‐cv‐88381‐MCR‐HTC
444.   215029 Ely, Travis                 Tracey & Fox Law Firm   8:20‐cv‐61455‐MCR‐HTC
445.   276906 Engler, Michael             Tracey & Fox Law Firm   9:20‐cv‐19412‐MCR‐HTC
446.    21066      Escalante, Alberto     Tracey & Fox Law Firm   7:20‐cv‐92803‐MCR‐HTC
447.   263677 Escamill, David             Tracey & Fox Law Firm   9:20‐cv‐03795‐MCR‐HTC
448.   333867 Esien, Paula                Tracey & Fox Law Firm   7:21‐cv‐51673‐MCR‐HTC
449.    21073      Espeleta, Jeremy       Tracey & Fox Law Firm   7:20‐cv‐92817‐MCR‐HTC
450.   289405 Espinoza, Armando           Tracey & Fox Law Firm   7:21‐cv‐10348‐MCR‐HTC
451.   238861 Esposito, David             Tracey & Fox Law Firm   8:20‐cv‐85226‐MCR‐HTC
452.    21087      Evans, Joey            Tracey & Fox Law Firm   7:20‐cv‐92847‐MCR‐HTC
453.    21085      Evans, Randy           Tracey & Fox Law Firm                           7:20‐cv‐92841‐MCR‐HTC
454.   273986 Evans, Raymond              Tracey & Fox Law Firm   9:20‐cv‐15650‐MCR‐HTC
455.   211023 Even, Daniel                Tracey & Fox Law Firm   8:20‐cv‐56926‐MCR‐HTC
456.   210956 Everhart, Joshua            Tracey & Fox Law Firm   8:20‐cv‐56660‐MCR‐HTC
457.    21111      Ewing, Jodie           Tracey & Fox Law Firm   7:20‐cv‐92907‐MCR‐HTC
458.   157313 Ezell, Jody                 Tracey & Fox Law Firm                           7:20‐cv‐98818‐MCR‐HTC
459.   215039 Falk, Matthew               Tracey & Fox Law Firm   8:20‐cv‐61499‐MCR‐HTC
460.   193151 Farmer, Peace               Tracey & Fox Law Firm   8:20‐cv‐56884‐MCR‐HTC
461.   241581 Farmer, Sylvester           Tracey & Fox Law Firm   8:20‐cv‐88384‐MCR‐HTC
462.   229283 Farris, Lawrence            Tracey & Fox Law Firm   8:20‐cv‐65898‐MCR‐HTC
463.   186055 Fatuesi, Richard            Tracey & Fox Law Firm   8:20‐cv‐10232‐MCR‐HTC
464.   274086 Faunce, Zachary             Tracey & Fox Law Firm   9:20‐cv‐15750‐MCR‐HTC
465.   206218 Felts, Jason                Tracey & Fox Law Firm   8:20‐cv‐50839‐MCR‐HTC
466.   211360 Ferdinand, Emily            Tracey & Fox Law Firm   8:20‐cv‐57262‐MCR‐HTC
467.   249780 Ferguson, Matthew           Tracey & Fox Law Firm   8:20‐cv‐94075‐MCR‐HTC
468.   238871 Fernen, Jeffrey             Tracey & Fox Law Firm   8:20‐cv‐85246‐MCR‐HTC
469.   193158 Ferr, Nathan                Tracey & Fox Law Firm   8:20‐cv‐56913‐MCR‐HTC
470.   183982 Ferrel, Sergio              Tracey & Fox Law Firm   8:20‐cv‐07637‐MCR‐HTC
471.    21162      Ferrell, Tyler         Tracey & Fox Law Firm   7:20‐cv‐93049‐MCR‐HTC
472.   230147 Few, James                  Tracey & Fox Law Firm   8:20‐cv‐67336‐MCR‐HTC
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       Plaintiff                                                   Admin Docket Case       Active Docket Case
Row                      Plaintiff Name     Law Firm Name
          ID                                                           Number                   Number
473.   238872 Fields, David               Tracey & Fox Law Firm   8:20‐cv‐85248‐MCR‐HTC
474.   230263 Figueroa, Greg              Tracey & Fox Law Firm   8:20‐cv‐72891‐MCR‐HTC
475.   157765 Fitzgerald, Craigan         Tracey & Fox Law Firm                           7:20‐cv‐99103‐MCR‐HTC
476.   157243 Fitzpatrick, Johnathan      Tracey & Fox Law Firm   7:20‐cv‐98787‐MCR‐HTC
477.   206910 Fitzsimmons, Delvon         Tracey & Fox Law Firm                           8:20‐cv‐50400‐MCR‐HTC
478.    21210      Flaugher, Terrance     Tracey & Fox Law Firm   7:20‐cv‐93180‐MCR‐HTC
479.   193170 Fleming, Randy              Tracey & Fox Law Firm   8:20‐cv‐56958‐MCR‐HTC
480.   156965 Fleming, Tracy              Tracey & Fox Law Firm   7:20‐cv‐98962‐MCR‐HTC
481.   238880 Fletcher, Delma             Tracey & Fox Law Firm   8:20‐cv‐85263‐MCR‐HTC
482.   230180 Flores, Alexander           Tracey & Fox Law Firm   8:20‐cv‐72734‐MCR‐HTC
483.    21225      Flores, Johnny         Tracey & Fox Law Firm   7:20‐cv‐93211‐MCR‐HTC
484.   230459 Fluellen, Termaine          Tracey & Fox Law Firm   8:20‐cv‐73264‐MCR‐HTC
485.   206877 Flumach, Robert             Tracey & Fox Law Firm                           8:20‐cv‐51417‐MCR‐HTC
486.   193176 Flynn, Michelle             Tracey & Fox Law Firm   8:20‐cv‐56976‐MCR‐HTC
487.   205194 Fogg, Colin                 Tracey & Fox Law Firm   8:20‐cv‐48309‐MCR‐HTC
488.   274133 Fogle, Brandon              Tracey & Fox Law Firm                           9:20‐cv‐15797‐MCR‐HTC
489.   249791 Fonseca, Michelle           Tracey & Fox Law Firm   8:20‐cv‐94097‐MCR‐HTC
490.   183997 Ford‐Suding, Joseph         Tracey & Fox Law Firm   8:20‐cv‐07724‐MCR‐HTC
491.   184000 Fortner, Adam               Tracey & Fox Law Firm   8:20‐cv‐07740‐MCR‐HTC
492.   286895 Fortner, Andrew             Tracey & Fox Law Firm   7:21‐cv‐07073‐MCR‐HTC
493.   229209 Foster, Camdon              Tracey & Fox Law Firm   8:20‐cv‐65761‐MCR‐HTC
494.   249793 Foster, Eric                Tracey & Fox Law Firm                           8:20‐cv‐94101‐MCR‐HTC
495.   184001 Foster, Jeremy              Tracey & Fox Law Firm   8:20‐cv‐07745‐MCR‐HTC
496.   207015 Foster, Thomas              Tracey & Fox Law Firm                           8:20‐cv‐51720‐MCR‐HTC
497.    21265      Fouch, Aaron           Tracey & Fox Law Firm                           7:20‐cv‐93349‐MCR‐HTC
498.   333872 Fouquet, Corbin             Tracey & Fox Law Firm   7:21‐cv‐51678‐MCR‐HTC
499.   241591 Fournier, Aaron             Tracey & Fox Law Firm                           8:20‐cv‐88394‐MCR‐HTC
500.   238891 Fowler, James               Tracey & Fox Law Firm   8:20‐cv‐85285‐MCR‐HTC
501.   230504 Fowler, Phillip             Tracey & Fox Law Firm                           8:20‐cv‐73426‐MCR‐HTC
502.   238892 Fox, Eric                   Tracey & Fox Law Firm   8:20‐cv‐85287‐MCR‐HTC
503.   184004 Fox, Kristine               Tracey & Fox Law Firm   8:20‐cv‐07759‐MCR‐HTC
504.   229725 France, George              Tracey & Fox Law Firm   8:20‐cv‐66127‐MCR‐HTC
505.   249798 Frank, Dan                  Tracey & Fox Law Firm   8:20‐cv‐94112‐MCR‐HTC
506.   184009 Franklin, James             Tracey & Fox Law Firm   8:20‐cv‐07785‐MCR‐HTC
507.   206547 Frazier, Jamie              Tracey & Fox Law Firm   8:20‐cv‐51583‐MCR‐HTC
508.    21302      Frazier, John          Tracey & Fox Law Firm                           7:20‐cv‐93477‐MCR‐HTC
509.   171541 Free, Christopher           Tracey & Fox Law Firm   8:20‐cv‐02071‐MCR‐HTC
510.   184014 Freeman, Kevin              Tracey & Fox Law Firm   8:20‐cv‐07809‐MCR‐HTC
511.   238898 Freeman, Krista             Tracey & Fox Law Firm   8:20‐cv‐85309‐MCR‐HTC
512.    21313      Freeman, Troy          Tracey & Fox Law Firm   7:20‐cv‐93516‐MCR‐HTC
513.    21317      Freese, Curtis         Tracey & Fox Law Firm   7:20‐cv‐93535‐MCR‐HTC
514.   158754 Fuller, Jacob               Tracey & Fox Law Firm   7:20‐cv‐99145‐MCR‐HTC
515.   274066 Furman, Ian                 Tracey & Fox Law Firm   9:20‐cv‐15730‐MCR‐HTC
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       Plaintiff                                                   Admin Docket Case       Active Docket Case
Row                      Plaintiff Name     Law Firm Name
          ID                                                           Number                   Number
516.   215063 Gabel, Dustin               Tracey & Fox Law Firm                           8:20‐cv‐61609‐MCR‐HTC
517.    21340      Gabriel, Reynaldo      Tracey & Fox Law Firm                           7:20‐cv‐14910‐MCR‐HTC
518.   238908 Gage, Darius                Tracey & Fox Law Firm                           8:20‐cv‐85320‐MCR‐HTC
519.   274087 Gagel, Dale                 Tracey & Fox Law Firm   9:20‐cv‐15751‐MCR‐HTC
520.    21346      Gahagan, Marc          Tracey & Fox Law Firm   7:20‐cv‐93651‐MCR‐HTC
521.   326368 Gaines, Cassandra           Tracey & Fox Law Firm   7:21‐cv‐44400‐MCR‐HTC
522.   238910 Gallardo, Luis              Tracey & Fox Law Firm   8:20‐cv‐85322‐MCR‐HTC
523.   238912 Gamble, Stephen             Tracey & Fox Law Firm   8:20‐cv‐85324‐MCR‐HTC
524.   229245 Gan, David                  Tracey & Fox Law Firm                           8:20‐cv‐65828‐MCR‐HTC
525.   193197 Gaona, Richard              Tracey & Fox Law Firm   8:20‐cv‐57039‐MCR‐HTC
526.   238915 Garcia, Alexander           Tracey & Fox Law Firm   8:20‐cv‐85327‐MCR‐HTC
527.   241593 Garcia, Andres              Tracey & Fox Law Firm   8:20‐cv‐88396‐MCR‐HTC
528.    21376      Garcia, Edward         Tracey & Fox Law Firm   7:20‐cv‐93800‐MCR‐HTC
529.   193200 Garcia, Elizabeth           Tracey & Fox Law Firm   8:20‐cv‐57047‐MCR‐HTC
530.   230590 Garcia, Jorge               Tracey & Fox Law Firm   8:20‐cv‐73721‐MCR‐HTC
531.    21373      Garcia, Josue          Tracey & Fox Law Firm   7:20‐cv‐93781‐MCR‐HTC
532.   206163 Garms, Carl                 Tracey & Fox Law Firm   8:20‐cv‐50277‐MCR‐HTC
533.    21392      Garner, Davonn         Tracey & Fox Law Firm   7:20‐cv‐93873‐MCR‐HTC
534.   215071 Garrett, Wayne              Tracey & Fox Law Firm   8:20‐cv‐61649‐MCR‐HTC
535.   193206 Garza, Aaron                Tracey & Fox Law Firm   8:20‐cv‐57065‐MCR‐HTC
536.    21411      Gasper, Megan          Tracey & Fox Law Firm   7:20‐cv‐93971‐MCR‐HTC
537.   184037 Gates, Michelle             Tracey & Fox Law Firm   8:20‐cv‐07924‐MCR‐HTC
538.   356054 Gatkin, Josh                Tracey & Fox Law Firm                           3:22‐cv‐00087‐MCR‐HTC
539.    21416      Gattuso, Scott         Tracey & Fox Law Firm   7:20‐cv‐93995‐MCR‐HTC
540.   211223 Gaudet, Gerald              Tracey & Fox Law Firm   8:20‐cv‐56850‐MCR‐HTC
541.   359930 Gavigan, John               Tracey & Fox Law Firm                           3:22‐cv‐03922‐MCR‐HTC
542.    21430      Geibel, Leo            Tracey & Fox Law Firm   7:20‐cv‐94060‐MCR‐HTC
543.   193214 George, Joshua              Tracey & Fox Law Firm   8:20‐cv‐57090‐MCR‐HTC
544.   280604 Gepfrey, Patrick            Tracey & Fox Law Firm   7:21‐cv‐03393‐MCR‐HTC
545.   249823 Getson, Araceli             Tracey & Fox Law Firm   8:20‐cv‐94138‐MCR‐HTC
546.    21445      Gibbs, Orlando         Tracey & Fox Law Firm   7:20‐cv‐94126‐MCR‐HTC
547.   184047 Gibson, Takao               Tracey & Fox Law Firm   8:20‐cv‐07981‐MCR‐HTC
548.   207002 Gibson, Wesley              Tracey & Fox Law Firm                           8:20‐cv‐51694‐MCR‐HTC
549.    21453      Giese, Dominic         Tracey & Fox Law Firm   7:20‐cv‐94156‐MCR‐HTC
550.    21454      Gil, Francisco         Tracey & Fox Law Firm   7:20‐cv‐94160‐MCR‐HTC
551.    21462      Gilbreath, Charles     Tracey & Fox Law Firm   7:20‐cv‐94193‐MCR‐HTC
552.   230571 Giles, Jeffery              Tracey & Fox Law Firm   8:20‐cv‐73667‐MCR‐HTC
553.   336506 Gill, Crystal               Tracey & Fox Law Firm   7:21‐cv‐56260‐MCR‐HTC
554.   322290 Gilliland, Erik             Tracey & Fox Law Firm   7:21‐cv‐38533‐MCR‐HTC
555.   249826 Gillispie, Jason            Tracey & Fox Law Firm   8:20‐cv‐94141‐MCR‐HTC
556.   229665 Gilmore, Cole               Tracey & Fox Law Firm   8:20‐cv‐65980‐MCR‐HTC
557.   230045 Glick, Trevor               Tracey & Fox Law Firm   8:20‐cv‐67234‐MCR‐HTC
558.   230422 Glover, Elizabeth           Tracey & Fox Law Firm   8:20‐cv‐73145‐MCR‐HTC
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559.   263773 Godinez, Ismael             Tracey & Fox Law Firm   9:20‐cv‐03891‐MCR‐HTC
560.   215085 Goldberg, David             Tracey & Fox Law Firm   8:20‐cv‐61728‐MCR‐HTC
561.    21509      Gomez, Alex            Tracey & Fox Law Firm                           7:20‐cv‐93223‐MCR‐HTC
562.   215087 Gomez, Guadalupe            Tracey & Fox Law Firm   8:20‐cv‐61740‐MCR‐HTC
563.   230232 Gonzalez, Americo           Tracey & Fox Law Firm                           8:20‐cv‐72832‐MCR‐HTC
564.    21526      Gonzalez, Juan         Tracey & Fox Law Firm   7:20‐cv‐93275‐MCR‐HTC
565.   206800 Gonzalez, Rocky             Tracey & Fox Law Firm   8:20‐cv‐51205‐MCR‐HTC
566.    21536      Gooch, Dennis          Tracey & Fox Law Firm   7:20‐cv‐93313‐MCR‐HTC
567.   205514 Gooden, Donna               Tracey & Fox Law Firm   8:20‐cv‐48344‐MCR‐HTC
568.   184064 Goodrich, Justin            Tracey & Fox Law Firm   8:20‐cv‐09056‐MCR‐HTC
569.    21553      Gordon, Alexandra      Tracey & Fox Law Firm   7:20‐cv‐93375‐MCR‐HTC
570.   184067 Gordon, Eric                Tracey & Fox Law Firm   8:20‐cv‐09062‐MCR‐HTC
571.    21552      Gordon, Jeremy         Tracey & Fox Law Firm   7:20‐cv‐93371‐MCR‐HTC
572.   263802 Govia, Giovanni             Tracey & Fox Law Firm   9:20‐cv‐03920‐MCR‐HTC
573.    21569      Gozza, Steve           Tracey & Fox Law Firm                           7:20‐cv‐93425‐MCR‐HTC
574.    21583      Grant, Henry           Tracey & Fox Law Firm   7:20‐cv‐93469‐MCR‐HTC
575.   206123 Gray, Andre                 Tracey & Fox Law Firm   8:20‐cv‐50161‐MCR‐HTC
576.   263638 Gray, Todd                  Tracey & Fox Law Firm   9:20‐cv‐03756‐MCR‐HTC
577.   215104 Green, Alberto              Tracey & Fox Law Firm   8:20‐cv‐61832‐MCR‐HTC
578.    21608      Green, Shawn           Tracey & Fox Law Firm   7:20‐cv‐93556‐MCR‐HTC
579.   238949 Green, Timothy              Tracey & Fox Law Firm                           8:20‐cv‐85361‐MCR‐HTC
580.   157399 Greene, Jason               Tracey & Fox Law Firm   7:20‐cv‐98855‐MCR‐HTC
581.   207215 Greene, Rachel              Tracey & Fox Law Firm                           8:20‐cv‐52089‐MCR‐HTC
582.   193262 Gregory, Alexandria         Tracey & Fox Law Firm                           8:20‐cv‐57233‐MCR‐HTC
583.   184089 Gregory, Damian             Tracey & Fox Law Firm   8:20‐cv‐09125‐MCR‐HTC
584.    21634      Grey, Jessie           Tracey & Fox Law Firm   7:20‐cv‐93658‐MCR‐HTC
585.   249846 Griggs, James               Tracey & Fox Law Firm   8:20‐cv‐94162‐MCR‐HTC
586.    21661      Grisham, Levi          Tracey & Fox Law Firm   7:20‐cv‐93760‐MCR‐HTC
587.   230054 Grubb, Jeremiah             Tracey & Fox Law Firm   8:20‐cv‐67243‐MCR‐HTC
588.   268431 Guajardo, Albert            Tracey & Fox Law Firm   9:20‐cv‐17449‐MCR‐HTC
589.   258441 Guerrero, Kyle              Tracey & Fox Law Firm   9:20‐cv‐15439‐MCR‐HTC
590.   215115 Guertin, Arthur             Tracey & Fox Law Firm   8:20‐cv‐61890‐MCR‐HTC
591.    21688      Gumns, Levi            Tracey & Fox Law Firm   7:20‐cv‐93889‐MCR‐HTC
592.   249850 Gusman, Crystal             Tracey & Fox Law Firm   8:20‐cv‐94166‐MCR‐HTC
593.   157536 Guthmiller, Nickalis        Tracey & Fox Law Firm   7:20‐cv‐98931‐MCR‐HTC
594.    21715      Haag, Gabriel          Tracey & Fox Law Firm                           7:20‐cv‐94016‐MCR‐HTC
595.   215125 Hagan, Richard              Tracey & Fox Law Firm   8:20‐cv‐61942‐MCR‐HTC
596.   184109 Haglin, Jesse               Tracey & Fox Law Firm                           8:20‐cv‐09162‐MCR‐HTC
597.    21747      Hall, Joshua           Tracey & Fox Law Firm   7:20‐cv‐94151‐MCR‐HTC
598.   206023 Hall, Nathaniel             Tracey & Fox Law Firm   8:20‐cv‐49835‐MCR‐HTC
599.   249857 Hamack, Jacob               Tracey & Fox Law Firm                           8:20‐cv‐94173‐MCR‐HTC
600.   241614 Hamici, Abdel‐Hakim         Tracey & Fox Law Firm   8:20‐cv‐88417‐MCR‐HTC
601.   249858 Hamilton, Bent              Tracey & Fox Law Firm   8:20‐cv‐94174‐MCR‐HTC
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602.   355429 Hamilton, Neil              Tracey & Fox Law Firm                           3:21‐cv‐04387‐MCR‐HTC
603.    21778      Hammond, Brennan       Tracey & Fox Law Firm                           7:20‐cv‐93542‐MCR‐HTC
604.    21789      Haney, Christopher     Tracey & Fox Law Firm                           7:20‐cv‐93590‐MCR‐HTC
605.   193281 Hannan, Cameron             Tracey & Fox Law Firm   8:20‐cv‐57284‐MCR‐HTC
606.   249863 Hansen, Micheal             Tracey & Fox Law Firm   8:20‐cv‐94179‐MCR‐HTC
607.   276822 Hardin, John                Tracey & Fox Law Firm   9:20‐cv‐19284‐MCR‐HTC
608.    21817      Harding, Bill          Tracey & Fox Law Firm   7:20‐cv‐93718‐MCR‐HTC
609.    21822      Hargis, Ryan           Tracey & Fox Law Firm   7:20‐cv‐93743‐MCR‐HTC
610.    21823      Hargrove, Derek        Tracey & Fox Law Firm                           7:20‐cv‐93748‐MCR‐HTC
611.   354464 Harmon, David               Tracey & Fox Law Firm                           3:21‐cv‐02887‐MCR‐HTC
612.   205520 Harris, Antwan              Tracey & Fox Law Firm   8:20‐cv‐48361‐MCR‐HTC
613.    21852      Harris, Clinton        Tracey & Fox Law Firm                           7:20‐cv‐93901‐MCR‐HTC
614.   184129 Harris, Kevin               Tracey & Fox Law Firm   8:20‐cv‐09199‐MCR‐HTC
615.   193291 Harris, Latrice             Tracey & Fox Law Firm   8:20‐cv‐59207‐MCR‐HTC
616.   215137 Harris, Mark                Tracey & Fox Law Firm   8:20‐cv‐62003‐MCR‐HTC
617.   357197 Harris, Terry               Tracey & Fox Law Firm                           3:22‐cv‐01210‐MCR‐HTC
618.   249868 Harrison, Patrick           Tracey & Fox Law Firm   8:20‐cv‐94184‐MCR‐HTC
619.    21860      Hart, Jonathan         Tracey & Fox Law Firm   7:20‐cv‐93943‐MCR‐HTC
620.   211274 Hartman, Lucas              Tracey & Fox Law Firm   8:20‐cv‐57018‐MCR‐HTC
621.    21868      Hartpence, Zachary     Tracey & Fox Law Firm   7:20‐cv‐93984‐MCR‐HTC
622.   238977 Hartwell, Ashley            Tracey & Fox Law Firm                           8:20‐cv‐85389‐MCR‐HTC
623.    21878      Harvey, Alex           Tracey & Fox Law Firm   7:20‐cv‐94033‐MCR‐HTC
624.    21874      Harvey, Jeremy         Tracey & Fox Law Firm   7:20‐cv‐94014‐MCR‐HTC
625.    21883      Hasting, Levi          Tracey & Fox Law Firm   7:20‐cv‐94058‐MCR‐HTC
626.   211292 Hatch, Matthew              Tracey & Fox Law Firm   8:20‐cv‐57069‐MCR‐HTC
627.   193301 Hatler, Alexander           Tracey & Fox Law Firm                           8:20‐cv‐59217‐MCR‐HTC
628.    21888      Hauer, Wayne           Tracey & Fox Law Firm   7:20‐cv‐94074‐MCR‐HTC
629.   206924 Havard, Dakota              Tracey & Fox Law Firm                           8:20‐cv‐51522‐MCR‐HTC
630.   184138 Hayes, Corbin               Tracey & Fox Law Firm                           8:20‐cv‐09217‐MCR‐HTC
631.   193311 Haynes, Nathan              Tracey & Fox Law Firm   8:20‐cv‐59227‐MCR‐HTC
632.   356448 Headrick, Timothy           Tracey & Fox Law Firm                           3:22‐cv‐00511‐MCR‐HTC
633.    21927      Hefty, Chris           Tracey & Fox Law Firm   7:20‐cv‐93902‐MCR‐HTC
634.   205740 Heigelmann, Ryan            Tracey & Fox Law Firm   8:20‐cv‐48776‐MCR‐HTC
635.   215152 Heil, Charles               Tracey & Fox Law Firm   8:20‐cv‐62080‐MCR‐HTC
636.   207157 Henkle, Cameron             Tracey & Fox Law Firm   8:20‐cv‐52053‐MCR‐HTC
637.   171552 Henley, Bryant              Tracey & Fox Law Firm                           8:20‐cv‐02100‐MCR‐HTC
638.   260187 Hensley, Dustin             Tracey & Fox Law Firm   9:20‐cv‐01880‐MCR‐HTC
639.    21964      Henson, Johnathon      Tracey & Fox Law Firm                           7:20‐cv‐94092‐MCR‐HTC
640.   241621 Hernandez, Carmelo          Tracey & Fox Law Firm   8:20‐cv‐88424‐MCR‐HTC
641.   229190 Hernandez, Douglas          Tracey & Fox Law Firm   8:20‐cv‐65726‐MCR‐HTC
642.   193324 Hernandez, Johnny           Tracey & Fox Law Firm   8:20‐cv‐59240‐MCR‐HTC
643.    21975      Hernandez, Luis        Tracey & Fox Law Firm   7:20‐cv‐94145‐MCR‐HTC
644.   230311 Herr, David                 Tracey & Fox Law Firm   8:20‐cv‐72980‐MCR‐HTC
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645.   193331 Hertz, Christian            Tracey & Fox Law Firm   8:20‐cv‐59247‐MCR‐HTC
646.   193332 Hession, Timothy            Tracey & Fox Law Firm   8:20‐cv‐59248‐MCR‐HTC
647.   156997 Hibbard, Kristopher         Tracey & Fox Law Firm   7:20‐cv‐34714‐MCR‐HTC
648.   239002 Hicks, Keith                Tracey & Fox Law Firm   8:20‐cv‐85414‐MCR‐HTC
649.   215168 Higgins, Jeremy             Tracey & Fox Law Firm   8:20‐cv‐62163‐MCR‐HTC
650.   268464 Highfill, Greg              Tracey & Fox Law Firm                           9:20‐cv‐18141‐MCR‐HTC
651.    22031      Hill, Scott            Tracey & Fox Law Firm   7:20‐cv‐86070‐MCR‐HTC
652.   273989 Hillock, Thomas             Tracey & Fox Law Firm                           9:20‐cv‐15653‐MCR‐HTC
653.    22041      Hines, Marquis         Tracey & Fox Law Firm   7:20‐cv‐86093‐MCR‐HTC
654.   229203 Hines, Rickie               Tracey & Fox Law Firm   8:20‐cv‐65750‐MCR‐HTC
655.   205586 Hinson, Zachery             Tracey & Fox Law Firm   8:20‐cv‐48523‐MCR‐HTC
656.   211130 Hitchcock, Ashley           Tracey & Fox Law Firm   8:20‐cv‐56499‐MCR‐HTC
657.    22057      Hobbs, Ryan            Tracey & Fox Law Firm   7:20‐cv‐86127‐MCR‐HTC
658.   193350 Hockenberry, Rebecca        Tracey & Fox Law Firm   8:20‐cv‐59266‐MCR‐HTC
659.    22064      Hodges, Richard        Tracey & Fox Law Firm   7:20‐cv‐86141‐MCR‐HTC
660.   263709 Hogan, John                 Tracey & Fox Law Firm   9:20‐cv‐03827‐MCR‐HTC
661.   268526 Holiday, Irene              Tracey & Fox Law Firm                           9:20‐cv‐18202‐MCR‐HTC
662.   157592 Holien, Paul                Tracey & Fox Law Firm   7:20‐cv‐98966‐MCR‐HTC
663.   239009 Holland, Stephanie          Tracey & Fox Law Firm   8:20‐cv‐85421‐MCR‐HTC
664.   274041 Hollister, Corey            Tracey & Fox Law Firm   9:20‐cv‐15705‐MCR‐HTC
665.   356055 Holloway, Anthony           Tracey & Fox Law Firm                           3:22‐cv‐00139‐MCR‐HTC
666.   206824 Holmes, Chad                Tracey & Fox Law Firm   8:20‐cv‐51266‐MCR‐HTC
667.   184177 Holschuh, James             Tracey & Fox Law Firm   8:20‐cv‐09292‐MCR‐HTC
668.   276961 Hons, Wayne                 Tracey & Fox Law Firm   9:20‐cv‐19814‐MCR‐HTC
669.    22116      Hood, Elijha           Tracey & Fox Law Firm   7:20‐cv‐86245‐MCR‐HTC
670.    22122      Hopkins, Albert        Tracey & Fox Law Firm   7:20‐cv‐86257‐MCR‐HTC
671.    22123      Hopkins, Ryan          Tracey & Fox Law Firm                           7:20‐cv‐86259‐MCR‐HTC
672.   239014 Horan, Eliab                Tracey & Fox Law Firm                           8:20‐cv‐85426‐MCR‐HTC
673.    22130      Horna, Ken             Tracey & Fox Law Firm   7:20‐cv‐86273‐MCR‐HTC
674.    22134      Horne, Joseph          Tracey & Fox Law Firm                           7:20‐cv‐86281‐MCR‐HTC
675.   239015 Horner, William             Tracey & Fox Law Firm   8:20‐cv‐85427‐MCR‐HTC
676.   156667 Horton, Marv                Tracey & Fox Law Firm   7:20‐cv‐98799‐MCR‐HTC
677.    22143      Hostetler, Shara       Tracey & Fox Law Firm   7:20‐cv‐86292‐MCR‐HTC
678.   156656 Howard, Antonio             Tracey & Fox Law Firm   7:20‐cv‐98793‐MCR‐HTC
679.   206038 Howard, Danny               Tracey & Fox Law Firm   8:20‐cv‐49899‐MCR‐HTC
680.   277055 Hubbard, Brandon            Tracey & Fox Law Firm                           9:20‐cv‐20011‐MCR‐HTC
681.   184193 Huber, Tate                 Tracey & Fox Law Firm   8:20‐cv‐09321‐MCR‐HTC
682.    22181      Hudson, Floyd          Tracey & Fox Law Firm                           7:20‐cv‐86365‐MCR‐HTC
683.   184197 Huerta, Martin              Tracey & Fox Law Firm   8:20‐cv‐09329‐MCR‐HTC
684.   157092 Hughes, Andrew              Tracey & Fox Law Firm   7:20‐cv‐99060‐MCR‐HTC
685.   205836 Hughes, Charles             Tracey & Fox Law Firm   8:20‐cv‐49384‐MCR‐HTC
686.   206279 Hughes, David               Tracey & Fox Law Firm   8:20‐cv‐50980‐MCR‐HTC
687.   239025 Hughes, Justin              Tracey & Fox Law Firm   8:20‐cv‐85437‐MCR‐HTC
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Row                      Plaintiff Name     Law Firm Name
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688.   359749 Hull, Donald                Tracey & Fox Law Firm                           3:22‐cv‐03749‐MCR‐HTC
689.   205321 Hunt, Justin                Tracey & Fox Law Firm   8:20‐cv‐48602‐MCR‐HTC
690.    22199      Hunt, Nicholas         Tracey & Fox Law Firm   7:20‐cv‐86401‐MCR‐HTC
691.    22213      Hunter, Bendell        Tracey & Fox Law Firm   7:20‐cv‐86426‐MCR‐HTC
692.   289408 Hutsell, Kyle               Tracey & Fox Law Firm   7:21‐cv‐10351‐MCR‐HTC
693.   184212 Ibrahim, Dara               Tracey & Fox Law Firm   8:20‐cv‐09467‐MCR‐HTC
694.   206216 Ignont, Jeremy              Tracey & Fox Law Firm   8:20‐cv‐50834‐MCR‐HTC
695.   193382 Inmon, Chance               Tracey & Fox Law Firm   8:20‐cv‐59322‐MCR‐HTC
696.   229823 Ireland, Nathan             Tracey & Fox Law Firm                           8:20‐cv‐66499‐MCR‐HTC
697.   260193 Isanogle, Payne             Tracey & Fox Law Firm   9:20‐cv‐01892‐MCR‐HTC
698.    22289      Jackson, Aaron         Tracey & Fox Law Firm   7:20‐cv‐86801‐MCR‐HTC
699.   205625 Jackson, Dorway             Tracey & Fox Law Firm   8:20‐cv‐48627‐MCR‐HTC
700.   241636 Jackson, Kierra             Tracey & Fox Law Firm                           8:20‐cv‐88439‐MCR‐HTC
701.   184221 Jackson, Leslie             Tracey & Fox Law Firm                           8:20‐cv‐09498‐MCR‐HTC
702.   239040 Jackson, Phillip            Tracey & Fox Law Firm   8:20‐cv‐85452‐MCR‐HTC
703.   249908 Jackson, Randy              Tracey & Fox Law Firm   8:20‐cv‐94224‐MCR‐HTC
704.    22277      Jackson, Robert        Tracey & Fox Law Firm                           7:20‐cv‐86753‐MCR‐HTC
705.   171341 Jacobs, Auston              Tracey & Fox Law Firm                           8:20‐cv‐01725‐MCR‐HTC
706.    22297      Jacobs, Matthew        Tracey & Fox Law Firm                           7:20‐cv‐86833‐MCR‐HTC
707.   157778 Jacotts, Donna              Tracey & Fox Law Firm   7:20‐cv‐99120‐MCR‐HTC
708.   268418 James, Jacquonia            Tracey & Fox Law Firm   9:20‐cv‐17422‐MCR‐HTC
709.   239044 James, Joseph               Tracey & Fox Law Firm   8:20‐cv‐85456‐MCR‐HTC
710.   258442 James, Joseph               Tracey & Fox Law Firm   9:20‐cv‐15441‐MCR‐HTC
711.   229962 Janssen, Chaz               Tracey & Fox Law Firm                           8:20‐cv‐67100‐MCR‐HTC
712.   205965 Janssen, Jake               Tracey & Fox Law Firm   8:20‐cv‐50550‐MCR‐HTC
713.   210886 Jarman, Nathan              Tracey & Fox Law Firm   8:20‐cv‐56442‐MCR‐HTC
714.   230409 Jarrell, Jonathan           Tracey & Fox Law Firm   8:20‐cv‐73115‐MCR‐HTC
715.   206175 Jeane, Christopher          Tracey & Fox Law Firm                           8:20‐cv‐50608‐MCR‐HTC
716.   184230 Jeffers, Darron             Tracey & Fox Law Firm   8:20‐cv‐09531‐MCR‐HTC
717.    22328      Jeffers, Ronald        Tracey & Fox Law Firm   7:20‐cv‐86954‐MCR‐HTC
718.   193398 Jenkins, Shane              Tracey & Fox Law Firm                           8:20‐cv‐59354‐MCR‐HTC
719.   184236 Jensen, Brandon             Tracey & Fox Law Firm   8:20‐cv‐09551‐MCR‐HTC
720.   205274 Jensen, Eric                Tracey & Fox Law Firm   8:20‐cv‐50238‐MCR‐HTC
721.    22342      Jerome, Jorge          Tracey & Fox Law Firm   7:20‐cv‐87328‐MCR‐HTC
722.   249913 Jessie, Steven              Tracey & Fox Law Firm                           8:20‐cv‐94229‐MCR‐HTC
723.   249914 Jimenez, Christian          Tracey & Fox Law Firm   8:20‐cv‐94230‐MCR‐HTC
724.    22357      Jodoin, Raymond        Tracey & Fox Law Firm   7:20‐cv‐87353‐MCR‐HTC
725.    22359      Joel, Jayme            Tracey & Fox Law Firm                           7:20‐cv‐87357‐MCR‐HTC
726.   211291 Joersz, Timothy             Tracey & Fox Law Firm   8:20‐cv‐57066‐MCR‐HTC
727.   206228 Johnson, Darin              Tracey & Fox Law Firm   8:20‐cv‐50863‐MCR‐HTC
728.   258459 Johnson, Derek              Tracey & Fox Law Firm   9:20‐cv‐15478‐MCR‐HTC
729.   157660 Johnson, Garett             Tracey & Fox Law Firm   7:20‐cv‐99028‐MCR‐HTC
730.   322298 Johnson, Gerald             Tracey & Fox Law Firm   7:21‐cv‐38554‐MCR‐HTC
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731.   249922 Johnson, Kelvin             Tracey & Fox Law Firm   8:20‐cv‐94238‐MCR‐HTC
732.   249924 Johnson, Marquez            Tracey & Fox Law Firm   8:20‐cv‐94240‐MCR‐HTC
733.   215214 Johnson, Matthew            Tracey & Fox Law Firm   8:20‐cv‐62383‐MCR‐HTC
734.    22399      Johnson, Noah          Tracey & Fox Law Firm   7:20‐cv‐87418‐MCR‐HTC
735.   206273 Johnson, Ormande            Tracey & Fox Law Firm   8:20‐cv‐50969‐MCR‐HTC
736.   206125 Johnson, Robert             Tracey & Fox Law Firm   8:20‐cv‐50168‐MCR‐HTC
737.   230145 Johnson, Robert             Tracey & Fox Law Firm   8:20‐cv‐67334‐MCR‐HTC
738.   239069 Johnston, Matthew           Tracey & Fox Law Firm   8:20‐cv‐85481‐MCR‐HTC
739.   215223 Johnston, Thomas            Tracey & Fox Law Firm   8:20‐cv‐62411‐MCR‐HTC
740.   184253 Jones, Brandon              Tracey & Fox Law Firm   8:20‐cv‐09599‐MCR‐HTC
741.   239071 Jones, Brandon              Tracey & Fox Law Firm                           8:20‐cv‐85483‐MCR‐HTC
742.   229583 Jones, Carey                Tracey & Fox Law Firm   8:20‐cv‐66831‐MCR‐HTC
743.   215231 Jones, Casey                Tracey & Fox Law Firm   8:20‐cv‐62437‐MCR‐HTC
744.   215228 Jones, Jarvarious           Tracey & Fox Law Firm   8:20‐cv‐62428‐MCR‐HTC
745.   171227 Jones, Julius               Tracey & Fox Law Firm   8:20‐cv‐07589‐MCR‐HTC
746.    22444      Jones, Matthew         Tracey & Fox Law Firm   7:20‐cv‐87459‐MCR‐HTC
747.   184260 Jones, Michael              Tracey & Fox Law Firm   8:20‐cv‐04027‐MCR‐HTC
748.   184263 Jones, Samuel               Tracey & Fox Law Firm   8:20‐cv‐09620‐MCR‐HTC
749.    22494      Jordan, Aaron          Tracey & Fox Law Firm                           7:20‐cv‐87554‐MCR‐HTC
750.    22495      Jordan, Ronald         Tracey & Fox Law Firm   7:20‐cv‐87556‐MCR‐HTC
751.   249932 Jurado, Luis                Tracey & Fox Law Firm   8:20‐cv‐94248‐MCR‐HTC
752.   359851 Kastberg, Jeremy            Tracey & Fox Law Firm                           3:22‐cv‐04082‐MCR‐HTC
753.   258468 Kaufman, Ryan               Tracey & Fox Law Firm   9:20‐cv‐15497‐MCR‐HTC
754.    22539      Keanon, Mario          Tracey & Fox Law Firm   7:20‐cv‐87645‐MCR‐HTC
755.   193436 Kelly, Kevin                Tracey & Fox Law Firm   8:20‐cv‐59432‐MCR‐HTC
756.   205591 Kennedy, Cody               Tracey & Fox Law Firm   8:20‐cv‐48535‐MCR‐HTC
757.   205127 Kespert, William            Tracey & Fox Law Firm                           8:20‐cv‐50121‐MCR‐HTC
758.   359959 Khan, Cody                  Tracey & Fox Law Firm                           3:22‐cv‐03360‐MCR‐HTC
759.   241653 Khan, Hammad                Tracey & Fox Law Firm   8:20‐cv‐88458‐MCR‐HTC
760.   158042 Kibby, Isaiah               Tracey & Fox Law Firm   7:20‐cv‐98899‐MCR‐HTC
761.   336525 Kile, Robert                Tracey & Fox Law Firm   7:21‐cv‐56286‐MCR‐HTC
762.   322302 Killebrew, Daval            Tracey & Fox Law Firm   7:21‐cv‐38565‐MCR‐HTC
763.   333900 Kincannon, Collin           Tracey & Fox Law Firm   7:21‐cv‐51706‐MCR‐HTC
764.    22597      Kinchen, Clydell       Tracey & Fox Law Firm                           7:20‐cv‐87859‐MCR‐HTC
765.   184292 Kinere, Paul                Tracey & Fox Law Firm   8:20‐cv‐09712‐MCR‐HTC
766.   207233 King, Anderson              Tracey & Fox Law Firm   8:20‐cv‐52103‐MCR‐HTC
767.    22605      King, Brandon          Tracey & Fox Law Firm                           7:20‐cv‐87874‐MCR‐HTC
768.    22603      King, Joseph           Tracey & Fox Law Firm   7:20‐cv‐87870‐MCR‐HTC
769.   215246 King, Peter                 Tracey & Fox Law Firm   8:20‐cv‐62486‐MCR‐HTC
770.   215249 King, Terrell               Tracey & Fox Law Firm   8:20‐cv‐62496‐MCR‐HTC
771.   273951 King, Thomas                Tracey & Fox Law Firm   9:20‐cv‐15124‐MCR‐HTC
772.   249944 King‐Salopek, Dominic       Tracey & Fox Law Firm   8:20‐cv‐94260‐MCR‐HTC
773.   239094 Kinsey, Virgil              Tracey & Fox Law Firm   8:20‐cv‐85505‐MCR‐HTC
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774.   286904 Kinsman, Arthur             Tracey & Fox Law Firm   7:21‐cv‐07082‐MCR‐HTC
775.   211216 Kirchner, John              Tracey & Fox Law Firm   8:20‐cv‐56821‐MCR‐HTC
776.   215252 Kirksey, Brad               Tracey & Fox Law Firm   8:20‐cv‐62505‐MCR‐HTC
777.   276932 Kiser, Johnathan            Tracey & Fox Law Firm   9:20‐cv‐19756‐MCR‐HTC
778.   205802 Kjos‐Mason, Kari            Tracey & Fox Law Firm   8:20‐cv‐49320‐MCR‐HTC
779.   346082 Klosowsky, Darren           Tracey & Fox Law Firm                           7:21‐cv‐64534‐MCR‐HTC
780.   241656 Knight, Daniel              Tracey & Fox Law Firm   8:20‐cv‐88463‐MCR‐HTC
781.   193461 Knight, Dejaneria           Tracey & Fox Law Firm   8:20‐cv‐59527‐MCR‐HTC
782.    22650      Kogos, John            Tracey & Fox Law Firm   7:20‐cv‐87964‐MCR‐HTC
783.   318733 Kostera, Andrzej            Tracey & Fox Law Firm   7:21‐cv‐33424‐MCR‐HTC
784.    22666      Kotoff, Cody           Tracey & Fox Law Firm   7:20‐cv‐88011‐MCR‐HTC
785.   193464 Kotsch, Bryan               Tracey & Fox Law Firm   8:20‐cv‐59538‐MCR‐HTC
786.    22675      Kramer, Michael        Tracey & Fox Law Firm                           7:20‐cv‐88033‐MCR‐HTC
787.    22678      Kraus, Collin          Tracey & Fox Law Firm   7:20‐cv‐88039‐MCR‐HTC
788.   241660 Kreger, Jason               Tracey & Fox Law Firm   8:20‐cv‐88469‐MCR‐HTC
789.    22686      Kruchten, Shane        Tracey & Fox Law Firm   7:20‐cv‐88060‐MCR‐HTC
790.   357182 Krueger, Jonathan           Tracey & Fox Law Firm                           3:22‐cv‐01153‐MCR‐HTC
791.   170835 Kruse, Travis               Tracey & Fox Law Firm   8:20‐cv‐02555‐MCR‐HTC
792.   249953 Ku, Anthony                 Tracey & Fox Law Firm   8:20‐cv‐94269‐MCR‐HTC
793.   229182 Kullman, William            Tracey & Fox Law Firm                           8:20‐cv‐65711‐MCR‐HTC
794.   206389 Kunkel, Dustin              Tracey & Fox Law Firm   8:20‐cv‐49978‐MCR‐HTC
795.   184315 Kutz, James                 Tracey & Fox Law Firm                           8:20‐cv‐10363‐MCR‐HTC
796.    22701      Kuykendall, Elliot     Tracey & Fox Law Firm   7:20‐cv‐88090‐MCR‐HTC
797.   229608 Lacher, Glenn               Tracey & Fox Law Firm   8:20‐cv‐66954‐MCR‐HTC
798.    22712      Lafavor, Ethan         Tracey & Fox Law Firm   7:20‐cv‐88112‐MCR‐HTC
799.    22713      Lafountain, Lorenzo    Tracey & Fox Law Firm   7:20‐cv‐88114‐MCR‐HTC
800.   239111 Lafrance, Joseph            Tracey & Fox Law Firm   8:20‐cv‐85522‐MCR‐HTC
801.   276809 Lagos, Anthony              Tracey & Fox Law Firm   9:20‐cv‐19271‐MCR‐HTC
802.    22730      Lammers, Michael       Tracey & Fox Law Firm   7:20‐cv‐88145‐MCR‐HTC
803.    22731      Lamp, David            Tracey & Fox Law Firm   7:20‐cv‐88147‐MCR‐HTC
804.   249960 Langston, Jason             Tracey & Fox Law Firm   8:20‐cv‐94276‐MCR‐HTC
805.   193479 Lanham, Andrew              Tracey & Fox Law Firm   8:20‐cv‐59596‐MCR‐HTC
806.    22767      Lapham, Laramie        Tracey & Fox Law Firm   7:20‐cv‐89072‐MCR‐HTC
807.   193481 Laporte, Lisa               Tracey & Fox Law Firm   8:20‐cv‐59604‐MCR‐HTC
808.   193485 Lassetter, William          Tracey & Fox Law Firm   8:20‐cv‐59619‐MCR‐HTC
809.   171213 Law, Niya                   Tracey & Fox Law Firm   8:20‐cv‐07514‐MCR‐HTC
810.   230084 Lawrence, Jeremy            Tracey & Fox Law Firm   8:20‐cv‐67273‐MCR‐HTC
811.   156779 Lawson, Krystal             Tracey & Fox Law Firm   7:20‐cv‐98859‐MCR‐HTC
812.   230222 Layne, Joshua               Tracey & Fox Law Firm   8:20‐cv‐72814‐MCR‐HTC
813.    22807      Leach, Gordon          Tracey & Fox Law Firm   7:20‐cv‐89180‐MCR‐HTC
814.   239127 Lear, Alexis                Tracey & Fox Law Firm   8:20‐cv‐85538‐MCR‐HTC
815.   249965 Leaton, Daved               Tracey & Fox Law Firm   8:20‐cv‐94281‐MCR‐HTC
816.    22818      Leblanc, Justin        Tracey & Fox Law Firm   7:20‐cv‐89199‐MCR‐HTC
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817.    22822      Ledbetter, Kyle          Tracey & Fox Law Firm   7:20‐cv‐89211‐MCR‐HTC
818.   211077 Lee, Robert                   Tracey & Fox Law Firm   8:20‐cv‐56319‐MCR‐HTC
819.    22838      Leftwich, Travis         Tracey & Fox Law Firm   7:20‐cv‐89256‐MCR‐HTC
820.   229472 Legas, Nicholas               Tracey & Fox Law Firm   8:20‐cv‐66393‐MCR‐HTC
821.   239135 Lemon, Canon                  Tracey & Fox Law Firm                           8:20‐cv‐85554‐MCR‐HTC
822.   249971 Leon, Carlos                  Tracey & Fox Law Firm   8:20‐cv‐94287‐MCR‐HTC
823.    22858      Leonard, Dale            Tracey & Fox Law Firm   7:20‐cv‐89294‐MCR‐HTC
824.   241667 Lerch, Carson                 Tracey & Fox Law Firm   8:20‐cv‐88480‐MCR‐HTC
825.   229396 Leslie, Christopher           Tracey & Fox Law Firm   8:20‐cv‐66115‐MCR‐HTC
826.   215289 Leturgez, Shane               Tracey & Fox Law Firm                           8:20‐cv‐61679‐MCR‐HTC
827.   354485 Leung, Douglas                Tracey & Fox Law Firm                           3:21‐cv‐02923‐MCR‐HTC
828.    22872      Levesque, Jeremy         Tracey & Fox Law Firm   7:20‐cv‐89316‐MCR‐HTC
829.   215292 Lewis, Barry                  Tracey & Fox Law Firm   8:20‐cv‐61697‐MCR‐HTC
830.    22883      Lewis, David             Tracey & Fox Law Firm   7:20‐cv‐89335‐MCR‐HTC
831.   184357 Leyva, Ruben                  Tracey & Fox Law Firm   8:20‐cv‐10548‐MCR‐HTC
832.   241668 Lindemann, Alexander          Tracey & Fox Law Firm   8:20‐cv‐88482‐MCR‐HTC
833.   205366 Lindey, Brian                 Tracey & Fox Law Firm   8:20‐cv‐48693‐MCR‐HTC
834.   184363 Lindsay, Andrew               Tracey & Fox Law Firm   8:20‐cv‐10569‐MCR‐HTC
835.   229980 Lindsey, Keith                Tracey & Fox Law Firm   8:20‐cv‐67148‐MCR‐HTC
836.    22941      Long, Jason              Tracey & Fox Law Firm   7:20‐cv‐89409‐MCR‐HTC
837.    22952      Lono, Eric               Tracey & Fox Law Firm   7:20‐cv‐89427‐MCR‐HTC
838.   230374 Loomis, Scott                 Tracey & Fox Law Firm   8:20‐cv‐73080‐MCR‐HTC
839.   277001 Lopez, Emiliano               Tracey & Fox Law Firm                           9:20‐cv‐19874‐MCR‐HTC
840.    22974      Lorenz, Antonio          Tracey & Fox Law Firm   7:20‐cv‐89465‐MCR‐HTC
841.    22975      Lorenzetti, Adam         Tracey & Fox Law Firm   7:20‐cv‐89467‐MCR‐HTC
842.   241669 Loughrey, Alafair             Tracey & Fox Law Firm   8:20‐cv‐88483‐MCR‐HTC
843.   206979 Louima, Ronel                 Tracey & Fox Law Firm                           8:20‐cv‐51635‐MCR‐HTC
844.   184377 Lowe, Tammy                   Tracey & Fox Law Firm   8:20‐cv‐10619‐MCR‐HTC
845.   171131 Lowry, William                Tracey & Fox Law Firm   8:20‐cv‐06744‐MCR‐HTC
846.   205532 Lucente, Jerri                Tracey & Fox Law Firm   8:20‐cv‐48392‐MCR‐HTC
847.   206865 Ludloff‐Ellswick, Chivas      Tracey & Fox Law Firm   8:20‐cv‐50389‐MCR‐HTC
848.   184379 Luesebrink, Jordan            Tracey & Fox Law Firm   8:20‐cv‐10626‐MCR‐HTC
849.   280655 Lupfer, Chase                 Tracey & Fox Law Firm   7:21‐cv‐03471‐MCR‐HTC
850.   205906 Lush, Daniel                  Tracey & Fox Law Firm   8:20‐cv‐49538‐MCR‐HTC
851.    23012      Luzanilla, Marco         Tracey & Fox Law Firm   7:20‐cv‐89530‐MCR‐HTC
852.    23013      Ly, Danny                Tracey & Fox Law Firm   7:20‐cv‐89532‐MCR‐HTC
853.   215320 Lytle, Jonathan               Tracey & Fox Law Firm   8:20‐cv‐61840‐MCR‐HTC
854.    23026      Macdonald, Christopher   Tracey & Fox Law Firm   7:20‐cv‐89553‐MCR‐HTC
855.   249993 Mack, Douglas                 Tracey & Fox Law Firm   8:20‐cv‐94355‐MCR‐HTC
856.   193531 Maclaine, Matthew             Tracey & Fox Law Firm   8:20‐cv‐60934‐MCR‐HTC
857.   280725 Macon, Dametre                Tracey & Fox Law Firm   7:21‐cv‐03541‐MCR‐HTC
858.    23037      Madden, Michael          Tracey & Fox Law Firm   7:20‐cv‐89573‐MCR‐HTC
859.   184393 Madden, Samuel                Tracey & Fox Law Firm   8:20‐cv‐10676‐MCR‐HTC
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860.   193537 Mahdy, Ashley              Tracey & Fox Law Firm                           8:20‐cv‐60939‐MCR‐HTC
861.   276797 Maisonet, Nephtali         Tracey & Fox Law Firm   9:20‐cv‐19259‐MCR‐HTC
862.   230124 Malina, Zachary            Tracey & Fox Law Firm   8:20‐cv‐67313‐MCR‐HTC
863.   215329 Malone, Chris              Tracey & Fox Law Firm   8:20‐cv‐61883‐MCR‐HTC
864.   260210 Manley, Tim                Tracey & Fox Law Firm   9:20‐cv‐01924‐MCR‐HTC
865.   229715 Manning, Jason             Tracey & Fox Law Firm   8:20‐cv‐66095‐MCR‐HTC
866.   241679 Manning, Thomas            Tracey & Fox Law Firm   8:20‐cv‐88500‐MCR‐HTC
867.   159991 Mansfield, Mathew          Tracey & Fox Law Firm   7:20‐cv‐99324‐MCR‐HTC
868.   211032 Mapote, Marion             Tracey & Fox Law Firm   8:20‐cv‐56133‐MCR‐HTC
869.    23087      Mara, Jerald          Tracey & Fox Law Firm                           7:20‐cv‐89704‐MCR‐HTC
870.   356045 Marco, Justin              Tracey & Fox Law Firm                           3:22‐cv‐00135‐MCR‐HTC
871.   184409 Marquez, Desiree           Tracey & Fox Law Firm   8:20‐cv‐10730‐MCR‐HTC
872.    23108      Marrow, Colton        Tracey & Fox Law Firm   7:20‐cv‐89765‐MCR‐HTC
873.   230016 Marrs, Charles             Tracey & Fox Law Firm   8:20‐cv‐67205‐MCR‐HTC
874.    23109      Marrs, John           Tracey & Fox Law Firm   7:20‐cv‐89768‐MCR‐HTC
875.   184410 Marsden, Kyle              Tracey & Fox Law Firm   8:20‐cv‐10734‐MCR‐HTC
876.    23117      Marshall, John        Tracey & Fox Law Firm                           7:20‐cv‐89789‐MCR‐HTC
877.   215340 Martin, Cody               Tracey & Fox Law Firm   8:20‐cv‐61937‐MCR‐HTC
878.   250001 Martin, Derrick            Tracey & Fox Law Firm                           8:20‐cv‐94364‐MCR‐HTC
879.    23131      Martin, Tyler         Tracey & Fox Law Firm   7:20‐cv‐89825‐MCR‐HTC
880.   206677 Martin, Victor             Tracey & Fox Law Firm   8:20‐cv‐50276‐MCR‐HTC
881.   268475 Martinez, Armando          Tracey & Fox Law Firm   9:20‐cv‐18152‐MCR‐HTC
882.   230239 Martinez, Chavez           Tracey & Fox Law Firm   8:20‐cv‐72846‐MCR‐HTC
883.   250003 Martinez, Cody             Tracey & Fox Law Firm   8:20‐cv‐94366‐MCR‐HTC
884.    23150      Martinez, Karina      Tracey & Fox Law Firm   7:20‐cv‐89884‐MCR‐HTC
885.   193562 Martinez, Kristian         Tracey & Fox Law Firm   8:20‐cv‐60964‐MCR‐HTC
886.    23162      Martinez, Miguel      Tracey & Fox Law Firm   7:20‐cv‐89919‐MCR‐HTC
887.   205986 Marvin, Timothy            Tracey & Fox Law Firm   8:20‐cv‐50555‐MCR‐HTC
888.   250006 Marzan, Jason              Tracey & Fox Law Firm   8:20‐cv‐94369‐MCR‐HTC
889.   230390 Mason, Frederick           Tracey & Fox Law Firm   8:20‐cv‐73096‐MCR‐HTC
890.   205431 Massi, Daniel              Tracey & Fox Law Firm   8:20‐cv‐50345‐MCR‐HTC
891.   241685 Mastne, James              Tracey & Fox Law Firm   8:20‐cv‐88510‐MCR‐HTC
892.    23187      Matney, Tracy         Tracey & Fox Law Firm   7:20‐cv‐89991‐MCR‐HTC
893.   229677 Matthees, Kenneth          Tracey & Fox Law Firm   8:20‐cv‐66005‐MCR‐HTC
894.    23189      Matthews, Darien      Tracey & Fox Law Firm   7:20‐cv‐14928‐MCR‐HTC
895.   239185 Mauga, Martha              Tracey & Fox Law Firm   8:20‐cv‐85642‐MCR‐HTC
896.   239187 Mauric, Alex               Tracey & Fox Law Firm   8:20‐cv‐85646‐MCR‐HTC
897.    23200      Maxey, James          Tracey & Fox Law Firm   7:20‐cv‐90009‐MCR‐HTC
898.   229777 Mayall, Richard            Tracey & Fox Law Firm   8:20‐cv‐66322‐MCR‐HTC
899.   333908 Mays, Justin               Tracey & Fox Law Firm   7:21‐cv‐51714‐MCR‐HTC
900.    23218      Mcaleer, Patrick      Tracey & Fox Law Firm   7:20‐cv‐90043‐MCR‐HTC
901.   260213 Mccallister, Joseph        Tracey & Fox Law Firm   9:20‐cv‐01927‐MCR‐HTC
902.    23228      Mccann, Kyle          Tracey & Fox Law Firm   7:20‐cv‐90062‐MCR‐HTC
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Row                     Plaintiff Name     Law Firm Name
          ID                                                          Number                   Number
903.   205569 Mccarthy, Chase            Tracey & Fox Law Firm   8:20‐cv‐48472‐MCR‐HTC
904.   193573 Mccartney, Jason           Tracey & Fox Law Firm   8:20‐cv‐60975‐MCR‐HTC
905.   354492 Mccarty, Jessie            Tracey & Fox Law Firm                           3:21‐cv‐03855‐MCR‐HTC
906.   263774 Mccarty, Milo              Tracey & Fox Law Firm   9:20‐cv‐03892‐MCR‐HTC
907.    23237      Mccauley, Derryck     Tracey & Fox Law Firm   7:20‐cv‐90081‐MCR‐HTC
908.   250011 Mccaw, Bernard             Tracey & Fox Law Firm   8:20‐cv‐94374‐MCR‐HTC
909.   205642 Mcclendon, Gregory         Tracey & Fox Law Firm   8:20‐cv‐48674‐MCR‐HTC
910.   184434 Mcclinton, Genesis         Tracey & Fox Law Firm   8:20‐cv‐10882‐MCR‐HTC
911.   206572 Mcclure, Jason             Tracey & Fox Law Firm   8:20‐cv‐51639‐MCR‐HTC
912.   274088 Mccorkindale, Lucas        Tracey & Fox Law Firm   9:20‐cv‐15752‐MCR‐HTC
913.   260214 Mccormack, Derrick         Tracey & Fox Law Firm                           9:20‐cv‐01928‐MCR‐HTC
914.    23257      Mccoy, Brandy         Tracey & Fox Law Firm   7:20‐cv‐90123‐MCR‐HTC
915.   250013 Mccoy, Johnathan           Tracey & Fox Law Firm   8:20‐cv‐94376‐MCR‐HTC
916.   206984 Mccuen, Michael            Tracey & Fox Law Firm                           8:20‐cv‐50433‐MCR‐HTC
917.   239199 Mccullough, Tim            Tracey & Fox Law Firm                           8:20‐cv‐85667‐MCR‐HTC
918.   239201 Mcdaniel, David            Tracey & Fox Law Firm   8:20‐cv‐85671‐MCR‐HTC
919.   193582 Mcdaniels, Matthew         Tracey & Fox Law Firm   8:20‐cv‐60984‐MCR‐HTC
920.    23275      Mcdonald, Janessa     Tracey & Fox Law Firm                           7:20‐cv‐90158‐MCR‐HTC
921.    23281      Mcdonnell, Jamie      Tracey & Fox Law Firm                           7:20‐cv‐90169‐MCR‐HTC
922.   239207 Mcelwain, Steven           Tracey & Fox Law Firm   8:20‐cv‐85682‐MCR‐HTC
923.   359797 Mcfadden, Amanda           Tracey & Fox Law Firm                           3:22‐cv‐03406‐MCR‐HTC
924.   239211 Mcgee, Nathaniel           Tracey & Fox Law Firm   8:20‐cv‐85689‐MCR‐HTC
925.   206751 Mcgill, Justin             Tracey & Fox Law Firm   8:20‐cv‐51075‐MCR‐HTC
926.   260215 Mcgillivry, Eric           Tracey & Fox Law Firm   9:20‐cv‐01929‐MCR‐HTC
927.    23300      Mcgirt, James         Tracey & Fox Law Firm   7:20‐cv‐90209‐MCR‐HTC
928.   193587 Mcgowaan, Dan              Tracey & Fox Law Firm   8:20‐cv‐60989‐MCR‐HTC
929.    23301      Mcgraw, Owen          Tracey & Fox Law Firm   7:20‐cv‐90212‐MCR‐HTC
930.   250020 Mcguire, Joshua            Tracey & Fox Law Firm   8:20‐cv‐94383‐MCR‐HTC
931.   206478 Mcguire, Matthew           Tracey & Fox Law Firm   8:20‐cv‐51448‐MCR‐HTC
932.    23308      Mchugh, Jared         Tracey & Fox Law Firm   7:20‐cv‐90232‐MCR‐HTC
933.    23309      Mcintosh, Paris       Tracey & Fox Law Firm   7:20‐cv‐90235‐MCR‐HTC
934.    23312      Mcintyre, Lori        Tracey & Fox Law Firm   7:20‐cv‐90244‐MCR‐HTC
935.   229375 Mckissick, Keorie          Tracey & Fox Law Firm   8:20‐cv‐66057‐MCR‐HTC
936.    23324      Mclaughlin, Daniel    Tracey & Fox Law Firm   7:20‐cv‐90288‐MCR‐HTC
937.    23325      Mclaughlin, Justin    Tracey & Fox Law Firm   7:20‐cv‐90290‐MCR‐HTC
938.   186077 Mcleod, Marcus             Tracey & Fox Law Firm                           8:20‐cv‐10298‐MCR‐HTC
939.   215371 Mcmillen, James            Tracey & Fox Law Firm   8:20‐cv‐62084‐MCR‐HTC
940.   260216 Mcswain, Steven            Tracey & Fox Law Firm   9:20‐cv‐01930‐MCR‐HTC
941.   205278 Meakens, Quaron            Tracey & Fox Law Firm   8:20‐cv‐48500‐MCR‐HTC
942.   206348 Medellin, Anthony          Tracey & Fox Law Firm   8:20‐cv‐51152‐MCR‐HTC
943.   250026 Medina‐Lopez, Francisco    Tracey & Fox Law Firm   8:20‐cv‐94389‐MCR‐HTC
944.   184466 Meinders, Mike             Tracey & Fox Law Firm   8:20‐cv‐10992‐MCR‐HTC
945.   206196 Menard, Steven             Tracey & Fox Law Firm   8:20‐cv‐50615‐MCR‐HTC
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Row                      Plaintiff Name     Law Firm Name
          ID                                                           Number                   Number
946.    23380      Mendez, Andres         Tracey & Fox Law Firm   7:20‐cv‐90419‐MCR‐HTC
947.    23381      Mendez, Benigno        Tracey & Fox Law Firm                           7:20‐cv‐90421‐MCR‐HTC
948.   326452 Meno, Donald                Tracey & Fox Law Firm   7:21‐cv‐44484‐MCR‐HTC
949.    23391      Mentzer, Tyler         Tracey & Fox Law Firm   7:20‐cv‐90445‐MCR‐HTC
950.    23400      Merrigan, Dale         Tracey & Fox Law Firm   7:20‐cv‐90463‐MCR‐HTC
951.   239228 Messer, Amber               Tracey & Fox Law Firm   8:20‐cv‐85718‐MCR‐HTC
952.   158072 Michael, Anthony            Tracey & Fox Law Firm   7:20‐cv‐98935‐MCR‐HTC
953.   230109 Michalski, Thomas           Tracey & Fox Law Firm                           8:20‐cv‐67298‐MCR‐HTC
954.   241702 Mick, Christopher           Tracey & Fox Law Firm   8:20‐cv‐88539‐MCR‐HTC
955.   229168 Mihlader, Duane             Tracey & Fox Law Firm   8:20‐cv‐65685‐MCR‐HTC
956.    23443      Miller, Jason          Tracey & Fox Law Firm   7:20‐cv‐90532‐MCR‐HTC
957.   157945 Miller, John                Tracey & Fox Law Firm   7:20‐cv‐99198‐MCR‐HTC
958.   186079 Miller, Joshua              Tracey & Fox Law Firm   8:20‐cv‐10306‐MCR‐HTC
959.    23452      Miller, Justin         Tracey & Fox Law Firm   7:20‐cv‐90552‐MCR‐HTC
960.   239230 Miller, Michael             Tracey & Fox Law Firm   8:20‐cv‐85722‐MCR‐HTC
961.   184484 Miller, Stephen             Tracey & Fox Law Firm   8:20‐cv‐11057‐MCR‐HTC
962.   193618 Miller, Stephen             Tracey & Fox Law Firm   8:20‐cv‐61020‐MCR‐HTC
963.   193619 Miller, William             Tracey & Fox Law Firm   8:20‐cv‐61021‐MCR‐HTC
964.   276942 Miller, William             Tracey & Fox Law Firm   9:20‐cv‐19776‐MCR‐HTC
965.   193623 Milligan, Thomas            Tracey & Fox Law Firm   8:20‐cv‐61025‐MCR‐HTC
966.   239232 Millonida, Gene             Tracey & Fox Law Firm   8:20‐cv‐85725‐MCR‐HTC
967.    23479      Millspaugh, Jason      Tracey & Fox Law Firm   7:20‐cv‐90598‐MCR‐HTC
968.   241705 Milnes, Dalton              Tracey & Fox Law Firm   8:20‐cv‐88544‐MCR‐HTC
969.   205271 Miner, Rolland              Tracey & Fox Law Firm   8:20‐cv‐48485‐MCR‐HTC
970.   280699 Minier, Thomas              Tracey & Fox Law Firm   7:21‐cv‐03515‐MCR‐HTC
971.    23486      Minks, Kyle            Tracey & Fox Law Firm   7:20‐cv‐90671‐MCR‐HTC
972.    23495      Mintz, Matthew         Tracey & Fox Law Firm   7:20‐cv‐90691‐MCR‐HTC
973.   210906 Mitchell, Calvin            Tracey & Fox Law Firm                           8:20‐cv‐56501‐MCR‐HTC
974.   215396 Mitchell, Darrell           Tracey & Fox Law Firm                           8:20‐cv‐62203‐MCR‐HTC
975.   355448 Moczulski, Eric             Tracey & Fox Law Firm                           3:21‐cv‐04364‐MCR‐HTC
976.   157516 Mogen, Todd                 Tracey & Fox Law Firm   7:20‐cv‐98923‐MCR‐HTC
977.   230465 Mokgoatsane, Mosepelo       Tracey & Fox Law Firm   8:20‐cv‐73285‐MCR‐HTC
978.   239239 Moller, Terry               Tracey & Fox Law Firm   8:20‐cv‐85737‐MCR‐HTC
979.   241708 Moloney, Dennis             Tracey & Fox Law Firm   8:20‐cv‐88550‐MCR‐HTC
980.   184497 Monsivais, David            Tracey & Fox Law Firm   8:20‐cv‐11105‐MCR‐HTC
981.   184501 Montgomery, Joshua          Tracey & Fox Law Firm   8:20‐cv‐11118‐MCR‐HTC
982.   207134 Montoya, Richard            Tracey & Fox Law Firm                           8:20‐cv‐50510‐MCR‐HTC
983.   211054 Mood, Dwight                Tracey & Fox Law Firm   8:20‐cv‐56226‐MCR‐HTC
984.   260222 Mooneyham, Tyler            Tracey & Fox Law Firm   9:20‐cv‐01936‐MCR‐HTC
985.   205764 Moore, Courtney             Tracey & Fox Law Firm   8:20‐cv‐48794‐MCR‐HTC
986.    23569      Moore, Jamie           Tracey & Fox Law Firm   7:20‐cv‐14931‐MCR‐HTC
987.   184507 Moore, Rachel               Tracey & Fox Law Firm                           8:20‐cv‐11136‐MCR‐HTC
988.   211365 Moore, Tiari                Tracey & Fox Law Firm   8:20‐cv‐57274‐MCR‐HTC
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           ID                                                          Number                   Number
989.    326438 Moore, Trendale            Tracey & Fox Law Firm   7:21‐cv‐44470‐MCR‐HTC
990.     23551      Moore, Tromaine       Tracey & Fox Law Firm   7:20‐cv‐90813‐MCR‐HTC
991.     23575      Morales, Jonathan     Tracey & Fox Law Firm   7:20‐cv‐90854‐MCR‐HTC
992.    210821 More, Ben                  Tracey & Fox Law Firm   8:20‐cv‐56209‐MCR‐HTC
993.    193642 Morgan, Bryan              Tracey & Fox Law Firm   8:20‐cv‐61044‐MCR‐HTC
994.    276794 Morgan, Laurence           Tracey & Fox Law Firm                           9:20‐cv‐19256‐MCR‐HTC
995.    215404 Morisseau, Paul‐Leroy      Tracey & Fox Law Firm                           8:20‐cv‐62241‐MCR‐HTC
996.     23596      Morning, John         Tracey & Fox Law Firm   7:20‐cv‐90895‐MCR‐HTC
997.    193645 Morris, Lasonya            Tracey & Fox Law Firm                           8:20‐cv‐61047‐MCR‐HTC
998.    156605 Morrison, Aaron            Tracey & Fox Law Firm                           7:20‐cv‐98774‐MCR‐HTC
999.     23610      Morrison, Kayla       Tracey & Fox Law Firm   7:20‐cv‐90922‐MCR‐HTC
1000.   215407 Morrison, Robert           Tracey & Fox Law Firm   8:20‐cv‐62256‐MCR‐HTC
1001.   241716 Moser, Melissa             Tracey & Fox Law Firm   8:20‐cv‐88565‐MCR‐HTC
1002.   250051 Moses, Alvin               Tracey & Fox Law Firm                           8:20‐cv‐94425‐MCR‐HTC
1003.   158049 Mountain, Ryan             Tracey & Fox Law Firm   7:20‐cv‐98905‐MCR‐HTC
1004.   263730 Moylan, Keonda             Tracey & Fox Law Firm                           9:20‐cv‐03848‐MCR‐HTC
1005.    23649      Mueller, James        Tracey & Fox Law Firm                           7:20‐cv‐90997‐MCR‐HTC
1006.   229664 Muir, Jeremy               Tracey & Fox Law Firm   8:20‐cv‐65978‐MCR‐HTC
1007.   230107 Mulder‐Lampley, Ian        Tracey & Fox Law Firm   8:20‐cv‐67296‐MCR‐HTC
1008.   156579 Mullen, Justin             Tracey & Fox Law Firm   7:20‐cv‐98762‐MCR‐HTC
1009.   359907 Muller, Michael            Tracey & Fox Law Firm                           3:22‐cv‐03394‐MCR‐HTC
1010.   215417 Murdock, Andy              Tracey & Fox Law Firm                           8:20‐cv‐62304‐MCR‐HTC
1011.   239270 Murphy, John               Tracey & Fox Law Firm                           8:20‐cv‐85792‐MCR‐HTC
1012.   207160 Murphy, Joshua             Tracey & Fox Law Firm   8:20‐cv‐50523‐MCR‐HTC
1013.   239271 Murphy, Scott              Tracey & Fox Law Firm                           8:20‐cv‐85794‐MCR‐HTC
1014.   171484 Murphy, Timothy            Tracey & Fox Law Firm   8:20‐cv‐01926‐MCR‐HTC
1015.    23681      Murray, Mario         Tracey & Fox Law Firm   7:20‐cv‐91054‐MCR‐HTC
1016.    23685      Murvin, Dan           Tracey & Fox Law Firm   7:20‐cv‐91062‐MCR‐HTC
1017.    23696      Myers, Micheal        Tracey & Fox Law Firm   7:20‐cv‐91085‐MCR‐HTC
1018.   158119 Nadi, Khalid               Tracey & Fox Law Firm   7:20‐cv‐98964‐MCR‐HTC
1019.   171473 Nelms, David               Tracey & Fox Law Firm                           8:20‐cv‐01897‐MCR‐HTC
1020.   229271 Nelson, Matthew            Tracey & Fox Law Firm   8:20‐cv‐65876‐MCR‐HTC
1021.   184544 Nelson, Megan              Tracey & Fox Law Firm   8:20‐cv‐11821‐MCR‐HTC
1022.   239281 Nelson, Parker             Tracey & Fox Law Firm   8:20‐cv‐85812‐MCR‐HTC
1023.   276993 Ness, Johnathan            Tracey & Fox Law Firm   9:20‐cv‐19858‐MCR‐HTC
1024.   241730 Neuschwander, Monte        Tracey & Fox Law Firm                           8:20‐cv‐88686‐MCR‐HTC
1025.   268484 Nevarez, Gonzalo           Tracey & Fox Law Firm                           9:20‐cv‐18161‐MCR‐HTC
1026.   205949 Newell, Adam               Tracey & Fox Law Firm   8:20‐cv‐50544‐MCR‐HTC
1027.   215432 Newton, Alton              Tracey & Fox Law Firm                           8:20‐cv‐62367‐MCR‐HTC
1028.    23773      Newton, Kyle          Tracey & Fox Law Firm   7:20‐cv‐91227‐MCR‐HTC
1029.   229483 Nicholas, Richard          Tracey & Fox Law Firm   8:20‐cv‐66434‐MCR‐HTC
1030.   206471 Nichols, Kyla              Tracey & Fox Law Firm   8:20‐cv‐50072‐MCR‐HTC
1031.   318750 Nicholson, Kumasi          Tracey & Fox Law Firm                           7:21‐cv‐33441‐MCR‐HTC
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1032.   322323 Nickerson, Ryan              Tracey & Fox Law Firm   7:21‐cv‐38627‐MCR‐HTC
1033.   215434 Niesen, Edward               Tracey & Fox Law Firm   8:20‐cv‐62372‐MCR‐HTC
1034.   184558 Niess, Bryan                 Tracey & Fox Law Firm   8:20‐cv‐11846‐MCR‐HTC
1035.   230536 Nolen, Albert                Tracey & Fox Law Firm   8:20‐cv‐73544‐MCR‐HTC
1036.    23806      Norcross, Michael       Tracey & Fox Law Firm   7:20‐cv‐91741‐MCR‐HTC
1037.   215440 Norris, Richard              Tracey & Fox Law Firm   8:20‐cv‐62391‐MCR‐HTC
1038.    23819      Novus‐Khan, Binyaamem   Tracey & Fox Law Firm   7:20‐cv‐91778‐MCR‐HTC
1039.    23822      Nunemaker, Eric         Tracey & Fox Law Firm   7:20‐cv‐91784‐MCR‐HTC
1040.   207100 Nunez, Fernando              Tracey & Fox Law Firm   8:20‐cv‐51966‐MCR‐HTC
1041.   206366 Nunn, Roy                    Tracey & Fox Law Firm   8:20‐cv‐51194‐MCR‐HTC
1042.   258487 Nutt, Dallas                 Tracey & Fox Law Firm                           9:20‐cv‐15537‐MCR‐HTC
1043.   193674 Nye, Amanda                  Tracey & Fox Law Firm   8:20‐cv‐61094‐MCR‐HTC
1044.   184573 O'Connell, Dan               Tracey & Fox Law Firm   8:20‐cv‐11876‐MCR‐HTC
1045.   206359 Oden, Brandon                Tracey & Fox Law Firm                           8:20‐cv‐49937‐MCR‐HTC
1046.    23841      Odom, Brandon           Tracey & Fox Law Firm   7:20‐cv‐91816‐MCR‐HTC
1047.    23850      Ogara, Brendan          Tracey & Fox Law Firm   7:20‐cv‐91830‐MCR‐HTC
1048.   239302 Ogletree, Jason              Tracey & Fox Law Firm   8:20‐cv‐85848‐MCR‐HTC
1049.   239303 O'Leary, Thomas              Tracey & Fox Law Firm   8:20‐cv‐85850‐MCR‐HTC
1050.    23863      Oliver, Travis          Tracey & Fox Law Firm   7:20‐cv‐91852‐MCR‐HTC
1051.    23872      Olson, Joseph           Tracey & Fox Law Firm   7:20‐cv‐91861‐MCR‐HTC
1052.   286912 Olvera, Raul                 Tracey & Fox Law Firm   7:21‐cv‐07088‐MCR‐HTC
1053.    23875      O'Neil, Scott           Tracey & Fox Law Firm   7:20‐cv‐91863‐MCR‐HTC
1054.    23893      Ortiz, Charles          Tracey & Fox Law Firm   7:20‐cv‐91881‐MCR‐HTC
1055.   260230 Ortiz, David                 Tracey & Fox Law Firm   9:20‐cv‐01944‐MCR‐HTC
1056.   250077 Osborne, Joey                Tracey & Fox Law Firm   8:20‐cv‐94499‐MCR‐HTC
1057.   250078 Osgood, Dylan                Tracey & Fox Law Firm   8:20‐cv‐94502‐MCR‐HTC
1058.    23905      Otero, Michael          Tracey & Fox Law Firm   7:20‐cv‐91893‐MCR‐HTC
1059.   156504 O'Toole, Ryan                Tracey & Fox Law Firm   7:20‐cv‐98728‐MCR‐HTC
1060.   211238 Ott, Timothy                 Tracey & Fox Law Firm                           8:20‐cv‐56908‐MCR‐HTC
1061.    23914      Owens, Hunter           Tracey & Fox Law Firm   7:20‐cv‐91902‐MCR‐HTC
1062.   276894 Oxendine, Jason              Tracey & Fox Law Firm                           9:20‐cv‐19389‐MCR‐HTC
1063.    23924      Padgett, Dexter         Tracey & Fox Law Firm   7:20‐cv‐91915‐MCR‐HTC
1064.    23927      Padilla, Gilbert        Tracey & Fox Law Firm   7:20‐cv‐91921‐MCR‐HTC
1065.    23928      Pagan, Richard          Tracey & Fox Law Firm   7:20‐cv‐91923‐MCR‐HTC
1066.   184595 Palfrey, Michael             Tracey & Fox Law Firm   8:20‐cv‐11917‐MCR‐HTC
1067.   346096 Palmer, Christopher          Tracey & Fox Law Firm   7:21‐cv‐64548‐MCR‐HTC
1068.   359868 Palmer, Clinton              Tracey & Fox Law Firm                           3:22‐cv‐04075‐MCR‐HTC
1069.   184597 Palmer, Paul                 Tracey & Fox Law Firm   8:20‐cv‐11921‐MCR‐HTC
1070.   184598 Palumbo, Anthony             Tracey & Fox Law Firm   8:20‐cv‐11923‐MCR‐HTC
1071.    23947      Pamula, Chris           Tracey & Fox Law Firm   7:20‐cv‐91958‐MCR‐HTC
1072.   274012 Panichello, Benjamin         Tracey & Fox Law Firm   9:20‐cv‐15676‐MCR‐HTC
1073.   184601 Paris, Kenneth               Tracey & Fox Law Firm   8:20‐cv‐11929‐MCR‐HTC
1074.   215468 Parish, Mikel                Tracey & Fox Law Firm   8:20‐cv‐62474‐MCR‐HTC
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1075.   239325 Park, Justin                Tracey & Fox Law Firm                           8:20‐cv‐85886‐MCR‐HTC
1076.   336554 Parker, Steven              Tracey & Fox Law Firm   7:21‐cv‐56315‐MCR‐HTC
1077.   229897 Parks, Jessica              Tracey & Fox Law Firm   8:20‐cv‐66799‐MCR‐HTC
1078.   239331 Parks, Marquis              Tracey & Fox Law Firm   8:20‐cv‐85892‐MCR‐HTC
1079.   184606 Parrott, Sharon             Tracey & Fox Law Firm   8:20‐cv‐11938‐MCR‐HTC
1080.   241748 Patrick, Antwan             Tracey & Fox Law Firm   8:20‐cv‐88705‐MCR‐HTC
1081.   186086 Patry, Nicholas             Tracey & Fox Law Firm                           8:20‐cv‐10330‐MCR‐HTC
1082.   171355 Patterson, Jason            Tracey & Fox Law Firm   8:20‐cv‐01737‐MCR‐HTC
1083.    24011      Patton, Shondell       Tracey & Fox Law Firm   7:20‐cv‐92067‐MCR‐HTC
1084.    24017      Paul, Carllie          Tracey & Fox Law Firm                           7:20‐cv‐92078‐MCR‐HTC
1085.   193713 Payne, Jacob                Tracey & Fox Law Firm   8:20‐cv‐60192‐MCR‐HTC
1086.   239335 Payton, Raymond             Tracey & Fox Law Firm                           8:20‐cv‐92437‐MCR‐HTC
1087.    24026      Peake, Herman          Tracey & Fox Law Firm   7:20‐cv‐92095‐MCR‐HTC
1088.   356442 Pearson, Kyle               Tracey & Fox Law Firm                           3:22‐cv‐00544‐MCR‐HTC
1089.   206634 Peavy, Ryan                 Tracey & Fox Law Firm   8:20‐cv‐51804‐MCR‐HTC
1090.   205739 Pelfrey, Randy              Tracey & Fox Law Firm   8:20‐cv‐48775‐MCR‐HTC
1091.    24038      Pells, Michael         Tracey & Fox Law Firm                           7:20‐cv‐92117‐MCR‐HTC
1092.    24045      Pena, Joseph           Tracey & Fox Law Firm   7:20‐cv‐92128‐MCR‐HTC
1093.   184624 Perdelwitz, Michael         Tracey & Fox Law Firm                           8:20‐cv‐06657‐MCR‐HTC
1094.    24059      Perebeynos, Alex       Tracey & Fox Law Firm   7:20‐cv‐92152‐MCR‐HTC
1095.    24072      Perez, Antonio         Tracey & Fox Law Firm   7:20‐cv‐92172‐MCR‐HTC
1096.   241750 Perez, Erick                Tracey & Fox Law Firm   8:20‐cv‐88709‐MCR‐HTC
1097.   207203 Perez, Jocelyn              Tracey & Fox Law Firm   8:20‐cv‐50558‐MCR‐HTC
1098.   211377 Perez, Jorge                Tracey & Fox Law Firm   8:20‐cv‐57296‐MCR‐HTC
1099.    24068      Perez, Joseph          Tracey & Fox Law Firm                           7:20‐cv‐92165‐MCR‐HTC
1100.    24090      Perry, Takarron        Tracey & Fox Law Firm                           7:20‐cv‐92204‐MCR‐HTC
1101.   318756 Peterkin, Jerran            Tracey & Fox Law Firm   7:21‐cv‐33447‐MCR‐HTC
1102.   206186 Peters, Keith               Tracey & Fox Law Firm   8:20‐cv‐50767‐MCR‐HTC
1103.   268399 Peters, Umeko               Tracey & Fox Law Firm   9:20‐cv‐17382‐MCR‐HTC
1104.   239344 Peterson, Justin            Tracey & Fox Law Firm   8:20‐cv‐92455‐MCR‐HTC
1105.    24116      Petrie, Derek          Tracey & Fox Law Firm   7:20‐cv‐92253‐MCR‐HTC
1106.   184635 Petty, Matthew              Tracey & Fox Law Firm   8:20‐cv‐06690‐MCR‐HTC
1107.   239345 Petty, Rodger               Tracey & Fox Law Firm   8:20‐cv‐92457‐MCR‐HTC
1108.   239346 Peznowski, Jerrad           Tracey & Fox Law Firm                           8:20‐cv‐92459‐MCR‐HTC
1109.   157080 Pfeil, Kerin                Tracey & Fox Law Firm                           7:20‐cv‐99044‐MCR‐HTC
1110.   250095 Pfeufer, Michael            Tracey & Fox Law Firm   8:20‐cv‐94556‐MCR‐HTC
1111.   215495 Phillips, Andre             Tracey & Fox Law Firm   8:20‐cv‐62541‐MCR‐HTC
1112.   215494 Phillips, Joseph            Tracey & Fox Law Firm   8:20‐cv‐62539‐MCR‐HTC
1113.   239348 Phillips, Leonard           Tracey & Fox Law Firm   8:20‐cv‐92463‐MCR‐HTC
1114.   211310 Phillips, Wade              Tracey & Fox Law Firm   8:20‐cv‐57121‐MCR‐HTC
1115.   205913 Phipps, Michael             Tracey & Fox Law Firm   8:20‐cv‐49560‐MCR‐HTC
1116.   229259 Picard, Michael             Tracey & Fox Law Firm   8:20‐cv‐65854‐MCR‐HTC
1117.   250100 Pierrelouis, Gunther        Tracey & Fox Law Firm                           8:20‐cv‐94572‐MCR‐HTC
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        Plaintiff                                                    Admin Docket Case       Active Docket Case
Row                      Plaintiff Name       Law Firm Name
           ID                                                            Number                   Number
1118.   356006 Piggee, Kenneth              Tracey & Fox Law Firm                           3:22‐cv‐00131‐MCR‐HTC
1119.   184648 Piper, Jeff                  Tracey & Fox Law Firm   8:20‐cv‐06729‐MCR‐HTC
1120.    24201      Poff, Joshua            Tracey & Fox Law Firm   7:20‐cv‐90402‐MCR‐HTC
1121.   193745 Poff, Melissa                Tracey & Fox Law Firm   8:20‐cv‐60332‐MCR‐HTC
1122.   159153 Pollard, Rodigeuez           Tracey & Fox Law Firm   7:20‐cv‐99186‐MCR‐HTC
1123.   184654 Pomelow, Jacob               Tracey & Fox Law Firm                           8:20‐cv‐06748‐MCR‐HTC
1124.   184655 Poole, Austin                Tracey & Fox Law Firm   8:20‐cv‐06753‐MCR‐HTC
1125.   206153 Poore, Leroy                 Tracey & Fox Law Firm   8:20‐cv‐50244‐MCR‐HTC
1126.   239362 Porter, Chris                Tracey & Fox Law Firm   8:20‐cv‐92491‐MCR‐HTC
1127.   260235 Posada, Bill                 Tracey & Fox Law Firm   9:20‐cv‐01949‐MCR‐HTC
1128.   215508 Potter, Robert               Tracey & Fox Law Firm   8:20‐cv‐61684‐MCR‐HTC
1129.   230050 Pounds, Cailub               Tracey & Fox Law Firm   8:20‐cv‐67239‐MCR‐HTC
1130.    24253      Powell, Daniel          Tracey & Fox Law Firm   7:20‐cv‐90566‐MCR‐HTC
1131.   229496 Powell, Joshua               Tracey & Fox Law Firm                           8:20‐cv‐66480‐MCR‐HTC
1132.    24262      Prawatsrichai, Robert   Tracey & Fox Law Firm   8:20‐cv‐34622‐MCR‐HTC
1133.   184669 Preudhomme, Kenneth          Tracey & Fox Law Firm   8:20‐cv‐06812‐MCR‐HTC
1134.   157632 Price, Brianna               Tracey & Fox Law Firm   7:20‐cv‐99010‐MCR‐HTC
1135.    24280      Priddy, Michael         Tracey & Fox Law Firm   7:20‐cv‐91202‐MCR‐HTC
1136.   263789 Prince, Joshuah              Tracey & Fox Law Firm   9:20‐cv‐03907‐MCR‐HTC
1137.   239369 Prince, Martin               Tracey & Fox Law Firm   8:20‐cv‐92504‐MCR‐HTC
1138.   193760 Prioleau, Robert             Tracey & Fox Law Firm   8:20‐cv‐60389‐MCR‐HTC
1139.   230565 Proffitt, Jamie              Tracey & Fox Law Firm   8:20‐cv‐73646‐MCR‐HTC
1140.    24293      Prokey, Richard         Tracey & Fox Law Firm   7:20‐cv‐91229‐MCR‐HTC
1141.   171035 Proue, Hilary                Tracey & Fox Law Firm   8:20‐cv‐05629‐MCR‐HTC
1142.   258496 Pruett, Bryan                Tracey & Fox Law Firm                           9:20‐cv‐15557‐MCR‐HTC
1143.   250114 Pryor, Ronald                Tracey & Fox Law Firm   8:20‐cv‐94616‐MCR‐HTC
1144.   184672 Pugh, Jonathan               Tracey & Fox Law Firm   8:20‐cv‐06824‐MCR‐HTC
1145.   157650 Puissegur, Andrew            Tracey & Fox Law Firm   8:20‐cv‐35259‐MCR‐HTC
1146.   186088 Purdy, Theodore              Tracey & Fox Law Firm   8:20‐cv‐10337‐MCR‐HTC
1147.   263784 Pyle, Jesse                  Tracey & Fox Law Firm   9:20‐cv‐03902‐MCR‐HTC
1148.   193771 Qualls, Keith                Tracey & Fox Law Firm                           8:20‐cv‐60429‐MCR‐HTC
1149.   239372 Qualls, Paul                 Tracey & Fox Law Firm   8:20‐cv‐92511‐MCR‐HTC
1150.   215516 Quayle, Timothy              Tracey & Fox Law Firm   8:20‐cv‐61727‐MCR‐HTC
1151.   229204 Quinn, Tyler                 Tracey & Fox Law Firm   8:20‐cv‐65752‐MCR‐HTC
1152.   171122 Quinones, Carmelo            Tracey & Fox Law Firm   8:20‐cv‐06713‐MCR‐HTC
1153.   206741 Quinonez, Vincent            Tracey & Fox Law Firm   8:20‐cv‐51041‐MCR‐HTC
1154.   170862 Quintana, Nestor             Tracey & Fox Law Firm   8:20‐cv‐04647‐MCR‐HTC
1155.   258469 Quiroz, Eduardo              Tracey & Fox Law Firm   9:20‐cv‐15499‐MCR‐HTC
1156.    24326      Quirumbay, Dario        Tracey & Fox Law Firm   7:20‐cv‐91297‐MCR‐HTC
1157.   230285 Radziej, Eric                Tracey & Fox Law Firm   8:20‐cv‐72933‐MCR‐HTC
1158.   184678 Raffa, Daniel                Tracey & Fox Law Firm   8:20‐cv‐06849‐MCR‐HTC
1159.   268538 Ragan, Daniel                Tracey & Fox Law Firm   9:20‐cv‐18214‐MCR‐HTC
1160.   307023 Ragin, Karl                  Tracey & Fox Law Firm                           7:21‐cv‐26259‐MCR‐HTC
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        Plaintiff                                                   Admin Docket Case       Active Docket Case
Row                       Plaintiff Name     Law Firm Name
           ID                                                           Number                   Number
1161.   250118 Ragsdale, Sean              Tracey & Fox Law Firm   8:20‐cv‐94628‐MCR‐HTC
1162.   184681 Ramirez, Aaron              Tracey & Fox Law Firm   8:20‐cv‐06862‐MCR‐HTC
1163.    24346      Ramirez, Alonzo        Tracey & Fox Law Firm   7:20‐cv‐91347‐MCR‐HTC
1164.   239377 Ramirez, Roberto            Tracey & Fox Law Firm   8:20‐cv‐92520‐MCR‐HTC
1165.   184686 Ramos, Luciano              Tracey & Fox Law Firm   8:20‐cv‐06884‐MCR‐HTC
1166.   239382 Rangel, Luis                Tracey & Fox Law Firm   8:20‐cv‐92530‐MCR‐HTC
1167.   326431 Ransom, Nico                Tracey & Fox Law Firm   7:21‐cv‐44463‐MCR‐HTC
1168.   229963 Raphiel, Charles            Tracey & Fox Law Firm   8:20‐cv‐67103‐MCR‐HTC
1169.    24369      Rasely, Robert         Tracey & Fox Law Firm                           7:20‐cv‐91410‐MCR‐HTC
1170.   193785 Rawlins, Erik               Tracey & Fox Law Firm                           8:20‐cv‐60474‐MCR‐HTC
1171.   250126 Redding, Eric               Tracey & Fox Law Firm   8:20‐cv‐94649‐MCR‐HTC
1172.   230019 Redsteer, Cardenas          Tracey & Fox Law Firm   8:20‐cv‐67208‐MCR‐HTC
1173.   193791 Reeved, Marcus              Tracey & Fox Law Firm                           8:20‐cv‐60493‐MCR‐HTC
1174.   193792 Reeves, Matthew             Tracey & Fox Law Firm   8:20‐cv‐60496‐MCR‐HTC
1175.   263701 Reeves, William             Tracey & Fox Law Firm   9:20‐cv‐03819‐MCR‐HTC
1176.   205277 Reidy, Ronald               Tracey & Fox Law Firm   8:20‐cv‐48497‐MCR‐HTC
1177.    24423      Reinsvold, Adam        Tracey & Fox Law Firm   7:20‐cv‐91563‐MCR‐HTC
1178.   307033 Reisdorff, Chris            Tracey & Fox Law Firm   7:21‐cv‐26269‐MCR‐HTC
1179.    24424      Remmers, James         Tracey & Fox Law Firm   7:20‐cv‐91565‐MCR‐HTC
1180.   359776 Rentas, Paul                Tracey & Fox Law Firm                           3:22‐cv‐04084‐MCR‐HTC
1181.   184704 Reynolds, Jared             Tracey & Fox Law Firm   8:20‐cv‐06947‐MCR‐HTC
1182.   184706 Reynolds, Joshua            Tracey & Fox Law Firm   8:20‐cv‐06950‐MCR‐HTC
1183.   346107 Rhodeos, Nicholas           Tracey & Fox Law Firm   7:21‐cv‐64559‐MCR‐HTC
1184.    24456      Rhodes, Christopher    Tracey & Fox Law Firm   7:20‐cv‐91617‐MCR‐HTC
1185.    24467      Ribolla, Andrew        Tracey & Fox Law Firm                           7:20‐cv‐91628‐MCR‐HTC
1186.   336559 Richard, Barry              Tracey & Fox Law Firm   7:21‐cv‐56320‐MCR‐HTC
1187.   193801 Richards, Nicholas          Tracey & Fox Law Firm                           8:20‐cv‐60527‐MCR‐HTC
1188.   193806 Richburgh, Shina            Tracey & Fox Law Firm   8:20‐cv‐60549‐MCR‐HTC
1189.    24498      Rico, Diego            Tracey & Fox Law Firm   7:20‐cv‐91916‐MCR‐HTC
1190.   322328 Ridge, Christopher          Tracey & Fox Law Firm   7:21‐cv‐38641‐MCR‐HTC
1191.    24510      Riggs, Patrick         Tracey & Fox Law Firm   7:20‐cv‐91940‐MCR‐HTC
1192.    24509      Riggs, Timothy         Tracey & Fox Law Firm   7:20‐cv‐91937‐MCR‐HTC
1193.   260243 Riley, Robert               Tracey & Fox Law Firm   9:20‐cv‐01957‐MCR‐HTC
1194.   186091 Rinehart, Matthew           Tracey & Fox Law Firm   8:20‐cv‐10347‐MCR‐HTC
1195.   250143 Ringler, Adam               Tracey & Fox Law Firm                           8:20‐cv‐94426‐MCR‐HTC
1196.   184717 Rios, Otto                  Tracey & Fox Law Firm   8:20‐cv‐06997‐MCR‐HTC
1197.    24527      Rios, Patrick          Tracey & Fox Law Firm   7:20‐cv‐91974‐MCR‐HTC
1198.   239401 Rippa, Justin               Tracey & Fox Law Firm   8:20‐cv‐92568‐MCR‐HTC
1199.   156755 Ritter, James               Tracey & Fox Law Firm   7:20‐cv‐98838‐MCR‐HTC
1200.   211197 Rivera, Brian               Tracey & Fox Law Firm   8:20‐cv‐56740‐MCR‐HTC
1201.   230367 Rivera, Glen                Tracey & Fox Law Firm   8:20‐cv‐73073‐MCR‐HTC
1202.   215548 Rivera, Henry               Tracey & Fox Law Firm   8:20‐cv‐61875‐MCR‐HTC
1203.   184718 Rivera, Juan                Tracey & Fox Law Firm   8:20‐cv‐07002‐MCR‐HTC
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1204.   184720 Rivera, Tito                Tracey & Fox Law Firm   8:20‐cv‐07011‐MCR‐HTC
1205.   205417 Roarty, Daniel              Tracey & Fox Law Firm   8:20‐cv‐50332‐MCR‐HTC
1206.    24553      Roberson, Princeton    Tracey & Fox Law Firm   7:20‐cv‐92029‐MCR‐HTC
1207.   280609 Robert, Steven              Tracey & Fox Law Firm   7:21‐cv‐03402‐MCR‐HTC
1208.    24561      Roberts, Freeman       Tracey & Fox Law Firm   7:20‐cv‐92047‐MCR‐HTC
1209.    24571      Robertson, Joshua      Tracey & Fox Law Firm   7:20‐cv‐14935‐MCR‐HTC
1210.    24581      Robins, Deaven         Tracey & Fox Law Firm   7:20‐cv‐92086‐MCR‐HTC
1211.   239411 Robinson, Nicholas          Tracey & Fox Law Firm   8:20‐cv‐92678‐MCR‐HTC
1212.    24592      Robinson, Raymane      Tracey & Fox Law Firm   7:20‐cv‐92105‐MCR‐HTC
1213.    24591      Robinson, Tony         Tracey & Fox Law Firm   7:20‐cv‐92103‐MCR‐HTC
1214.    24599      Roche, Matthew         Tracey & Fox Law Firm   7:20‐cv‐92120‐MCR‐HTC
1215.    24603      Rodcay, Michael        Tracey & Fox Law Firm                           7:20‐cv‐92129‐MCR‐HTC
1216.    24620      Rodriguez, Andy        Tracey & Fox Law Firm                           7:20‐cv‐92166‐MCR‐HTC
1217.   355821 Rodriguez, Kenneth          Tracey & Fox Law Firm                           3:21‐cv‐04858‐MCR‐HTC
1218.   207017 Rodriguez, Luis             Tracey & Fox Law Firm   8:20‐cv‐51727‐MCR‐HTC
1219.   280619 Rodriguez, Nicholas         Tracey & Fox Law Firm   7:21‐cv‐03421‐MCR‐HTC
1220.   250152 Rodriquez, Darique          Tracey & Fox Law Firm   8:20‐cv‐94445‐MCR‐HTC
1221.   239418 Roehm, Luann                Tracey & Fox Law Firm   8:20‐cv‐92691‐MCR‐HTC
1222.   274000 Rogers, Kenneth             Tracey & Fox Law Firm   9:20‐cv‐15664‐MCR‐HTC
1223.    24637      Rogers, Lorenzo        Tracey & Fox Law Firm   7:20‐cv‐92201‐MCR‐HTC
1224.   356017 Rogers, Robert              Tracey & Fox Law Firm                           3:22‐cv‐00205‐MCR‐HTC
1225.   193846 Roh, Stephen                Tracey & Fox Law Firm   8:20‐cv‐60703‐MCR‐HTC
1226.    24651      Rohmann, Joshua        Tracey & Fox Law Firm   7:20‐cv‐92229‐MCR‐HTC
1227.   215559 Rojas, Samuel               Tracey & Fox Law Firm   8:20‐cv‐61925‐MCR‐HTC
1228.   326403 Rondon, Carlos              Tracey & Fox Law Firm                           7:21‐cv‐44435‐MCR‐HTC
1229.    24671      Ronthi, David          Tracey & Fox Law Firm   7:20‐cv‐92283‐MCR‐HTC
1230.    24672      Roof, Ben              Tracey & Fox Law Firm   7:20‐cv‐92284‐MCR‐HTC
1231.   298770 Rosales, Frank              Tracey & Fox Law Firm   7:21‐cv‐51824‐MCR‐HTC
1232.    24685      Rosario, Joshua        Tracey & Fox Law Firm   7:20‐cv‐92302‐MCR‐HTC
1233.   239425 Rose, Cody                  Tracey & Fox Law Firm   8:20‐cv‐92705‐MCR‐HTC
1234.   336563 Rosewarne, David            Tracey & Fox Law Firm   7:21‐cv‐56324‐MCR‐HTC
1235.   250160 Ross, Andrew                Tracey & Fox Law Firm                           8:20‐cv‐94470‐MCR‐HTC
1236.   250161 Ross, Antwan                Tracey & Fox Law Firm   8:20‐cv‐94473‐MCR‐HTC
1237.   359954 Ross, Christopher           Tracey & Fox Law Firm                           3:22‐cv‐03869‐MCR‐HTC
1238.   229967 Rossow, Chad                Tracey & Fox Law Firm                           8:20‐cv‐67116‐MCR‐HTC
1239.   276808 Rowe, Lonzy                 Tracey & Fox Law Firm   9:20‐cv‐19270‐MCR‐HTC
1240.   355853 Ruark, Darroll              Tracey & Fox Law Firm                           3:21‐cv‐04800‐MCR‐HTC
1241.   206991 Ruby, Thomas                Tracey & Fox Law Firm   8:20‐cv‐51668‐MCR‐HTC
1242.    24721      Rudloff, Steven        Tracey & Fox Law Firm   7:20‐cv‐92421‐MCR‐HTC
1243.   250165 Ruel, Timothy               Tracey & Fox Law Firm   8:20‐cv‐94485‐MCR‐HTC
1244.   184764 Runion, Heath               Tracey & Fox Law Firm   8:20‐cv‐07226‐MCR‐HTC
1245.   184765 Ruplinger, Doug             Tracey & Fox Law Firm                           8:20‐cv‐07232‐MCR‐HTC
1246.    24739      Russell, Charles       Tracey & Fox Law Firm   7:20‐cv‐92472‐MCR‐HTC
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1247.   239431 Russell, Dominiq            Tracey & Fox Law Firm   8:20‐cv‐92717‐MCR‐HTC
1248.    24741      Russell, Jeffery       Tracey & Fox Law Firm   7:20‐cv‐92476‐MCR‐HTC
1249.   293766 Russell, Stacy              Tracey & Fox Law Firm   7:21‐cv‐51803‐MCR‐HTC
1250.    24752      Ryan, Daniel           Tracey & Fox Law Firm   7:20‐cv‐92496‐MCR‐HTC
1251.    24760      Saad, Nicholas         Tracey & Fox Law Firm   7:20‐cv‐92515‐MCR‐HTC
1252.    24762      Sabey, Lance           Tracey & Fox Law Firm   7:20‐cv‐92521‐MCR‐HTC
1253.   239440 Salas, Vieto                Tracey & Fox Law Firm                           8:20‐cv‐92734‐MCR‐HTC
1254.    24776      Salazar, David         Tracey & Fox Law Firm   7:20‐cv‐92878‐MCR‐HTC
1255.   206075 Salyers, Logan              Tracey & Fox Law Firm   8:20‐cv‐50002‐MCR‐HTC
1256.    24796      Samson, Paul           Tracey & Fox Law Firm   7:20‐cv‐92940‐MCR‐HTC
1257.   263785 Sanchez, Daniel             Tracey & Fox Law Firm   9:20‐cv‐03903‐MCR‐HTC
1258.   184776 Sanchez, Sonny              Tracey & Fox Law Firm   8:20‐cv‐07298‐MCR‐HTC
1259.   230011 Sanders, Dominique          Tracey & Fox Law Firm   8:20‐cv‐67200‐MCR‐HTC
1260.   239449 Sanders, Jefferson          Tracey & Fox Law Firm   8:20‐cv‐92752‐MCR‐HTC
1261.   276875 Sanders, Kyle               Tracey & Fox Law Firm   9:20‐cv‐19352‐MCR‐HTC
1262.   239446 Sanders, Princess           Tracey & Fox Law Firm   8:20‐cv‐92746‐MCR‐HTC
1263.   193880 Sanderson, Gary             Tracey & Fox Law Firm   8:20‐cv‐60806‐MCR‐HTC
1264.   206718 Sandoval, Steven            Tracey & Fox Law Firm   8:20‐cv‐52007‐MCR‐HTC
1265.   215591 Santiago, Hector            Tracey & Fox Law Firm   8:20‐cv‐62073‐MCR‐HTC
1266.    24843      Santo, Alex            Tracey & Fox Law Firm   7:20‐cv‐93095‐MCR‐HTC
1267.    24845      Santos, Jose           Tracey & Fox Law Firm   7:20‐cv‐93101‐MCR‐HTC
1268.   356435 Santos, Joseph              Tracey & Fox Law Firm                           3:22‐cv‐00515‐MCR‐HTC
1269.   193884 Sapp, Andrew                Tracey & Fox Law Firm   8:20‐cv‐60817‐MCR‐HTC
1270.    24849      Sargent, Joshua        Tracey & Fox Law Firm   7:20‐cv‐93115‐MCR‐HTC
1271.   229208 Sarro, Steven               Tracey & Fox Law Firm   8:20‐cv‐65759‐MCR‐HTC
1272.   206871 Sarte, Usman                Tracey & Fox Law Firm   8:20‐cv‐51399‐MCR‐HTC
1273.   206649 Satterlee, Daniel           Tracey & Fox Law Firm   8:20‐cv‐51851‐MCR‐HTC
1274.   193888 Satterly, Martin            Tracey & Fox Law Firm                           8:20‐cv‐60825‐MCR‐HTC
1275.   205200 Sauve, Kevin                Tracey & Fox Law Firm   8:20‐cv‐48323‐MCR‐HTC
1276.    24871      Schaefer, Herman       Tracey & Fox Law Firm   7:20‐cv‐93283‐MCR‐HTC
1277.    24876      Scheid, Michael        Tracey & Fox Law Firm   7:20‐cv‐93304‐MCR‐HTC
1278.   158422 Scherer, Jeffrey            Tracey & Fox Law Firm   7:20‐cv‐99082‐MCR‐HTC
1279.   229310 Schneider, Christopher      Tracey & Fox Law Firm   8:20‐cv‐65942‐MCR‐HTC
1280.   229590 Schulling, Zachary          Tracey & Fox Law Firm   8:20‐cv‐66867‐MCR‐HTC
1281.    24908      Schultz, Richard       Tracey & Fox Law Firm   7:20‐cv‐93441‐MCR‐HTC
1282.   268525 Schulz, Danny               Tracey & Fox Law Firm   9:20‐cv‐18201‐MCR‐HTC
1283.   239467 Schuster, Michael           Tracey & Fox Law Firm                           8:20‐cv‐92787‐MCR‐HTC
1284.   184801 Schwemin, Wyatt             Tracey & Fox Law Firm   8:20‐cv‐07438‐MCR‐HTC
1285.   230403 Scott, Aaron                Tracey & Fox Law Firm   8:20‐cv‐73109‐MCR‐HTC
1286.   205467 Scott, Abreon               Tracey & Fox Law Firm   8:20‐cv‐48217‐MCR‐HTC
1287.   326410 Scott, Akaliha              Tracey & Fox Law Firm   7:21‐cv‐44442‐MCR‐HTC
1288.   193906 Scott, Kenneth              Tracey & Fox Law Firm   8:20‐cv‐61145‐MCR‐HTC
1289.    24920      Scott, Ryan            Tracey & Fox Law Firm   7:20‐cv‐93485‐MCR‐HTC
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1290.    24929      Sealey, Marlon         Tracey & Fox Law Firm   7:20‐cv‐93526‐MCR‐HTC
1291.    24936      Seeley, Anthony        Tracey & Fox Law Firm   7:20‐cv‐93564‐MCR‐HTC
1292.   193911 Seitzler, Jeffrey           Tracey & Fox Law Firm   8:20‐cv‐61150‐MCR‐HTC
1293.   230256 Selby, Jacob                Tracey & Fox Law Firm   8:20‐cv‐72878‐MCR‐HTC
1294.    24945      Selga, Heinz           Tracey & Fox Law Firm   7:20‐cv‐93661‐MCR‐HTC
1295.   239474 Selvidge, Joseph            Tracey & Fox Law Firm   8:20‐cv‐93027‐MCR‐HTC
1296.   250190 Sermeno, Andres             Tracey & Fox Law Firm   8:20‐cv‐94564‐MCR‐HTC
1297.   239478 Shahalij, Alexander         Tracey & Fox Law Firm   8:20‐cv‐93035‐MCR‐HTC
1298.    24967      Shamlee, Daryl         Tracey & Fox Law Firm   7:20‐cv‐93790‐MCR‐HTC
1299.   193917 Shaputis, Zachary           Tracey & Fox Law Firm                           8:20‐cv‐61156‐MCR‐HTC
1300.   355868 Sharman, Andrew             Tracey & Fox Law Firm                           3:21‐cv‐04870‐MCR‐HTC
1301.   241797 Sharp, Chris                Tracey & Fox Law Firm                           8:20‐cv‐88802‐MCR‐HTC
1302.   211283 Shawver, Jacob              Tracey & Fox Law Firm   8:20‐cv‐57043‐MCR‐HTC
1303.   229219 Shay, Justin                Tracey & Fox Law Firm   8:20‐cv‐65779‐MCR‐HTC
1304.   241799 Sheftelman, Robert          Tracey & Fox Law Firm   8:20‐cv‐88806‐MCR‐HTC
1305.   250194 Shepley, Dylan              Tracey & Fox Law Firm                           8:20‐cv‐94577‐MCR‐HTC
1306.   215623 Sherman, Bryan              Tracey & Fox Law Firm   8:20‐cv‐62220‐MCR‐HTC
1307.   318766 Sherman, Cortez             Tracey & Fox Law Firm   7:21‐cv‐33457‐MCR‐HTC
1308.   239484 Sherman, Timothy            Tracey & Fox Law Firm   8:20‐cv‐93047‐MCR‐HTC
1309.   289429 Shields, Matthew            Tracey & Fox Law Firm   7:21‐cv‐10372‐MCR‐HTC
1310.   156942 Shirey, Timothy             Tracey & Fox Law Firm   7:20‐cv‐98953‐MCR‐HTC
1311.   205411 Shoemaker, Bradley          Tracey & Fox Law Firm   8:20‐cv‐48057‐MCR‐HTC
1312.    25028      Shortridge, Kelvin     Tracey & Fox Law Firm                           7:20‐cv‐94983‐MCR‐HTC
1313.   211289 Shumsky, Brian              Tracey & Fox Law Firm   8:20‐cv‐57060‐MCR‐HTC
1314.    25034      Shuster, Frank         Tracey & Fox Law Firm   7:20‐cv‐95001‐MCR‐HTC
1315.   171520 Sibley, Edward              Tracey & Fox Law Firm   8:20‐cv‐02018‐MCR‐HTC
1316.    25040      Sides, Anthony         Tracey & Fox Law Firm   7:20‐cv‐95021‐MCR‐HTC
1317.   258475 Sielski, Joe                Tracey & Fox Law Firm   9:20‐cv‐15512‐MCR‐HTC
1318.    25046      Silva, Adan            Tracey & Fox Law Firm                           7:20‐cv‐95038‐MCR‐HTC
1319.   230009 Silva, Marcos               Tracey & Fox Law Firm   8:20‐cv‐67198‐MCR‐HTC
1320.   207216 Simmons, Zack               Tracey & Fox Law Firm   8:20‐cv‐52090‐MCR‐HTC
1321.   239498 Simpson, James              Tracey & Fox Law Firm                           8:20‐cv‐93075‐MCR‐HTC
1322.   157201 Sims, Thomas                Tracey & Fox Law Firm   7:20‐cv‐98779‐MCR‐HTC
1323.   276828 Singleton, Justin           Tracey & Fox Law Firm   9:20‐cv‐19290‐MCR‐HTC
1324.   355876 Sitter, James               Tracey & Fox Law Firm                           3:21‐cv‐04796‐MCR‐HTC
1325.    25080      Sitton, Tyler          Tracey & Fox Law Firm   7:20‐cv‐95679‐MCR‐HTC
1326.    25086      Skelton, James         Tracey & Fox Law Firm                           7:20‐cv‐95722‐MCR‐HTC
1327.   171277 Skinner, Billy              Tracey & Fox Law Firm   8:20‐cv‐08255‐MCR‐HTC
1328.   215637 Slagle, Billy               Tracey & Fox Law Firm   8:20‐cv‐62284‐MCR‐HTC
1329.   215639 Sliger, Clarence            Tracey & Fox Law Firm   8:20‐cv‐62293‐MCR‐HTC
1330.   215640 Smart, Casey                Tracey & Fox Law Firm   8:20‐cv‐62298‐MCR‐HTC
1331.   250200 Smaw, Paul                  Tracey & Fox Law Firm                           8:20‐cv‐94596‐MCR‐HTC
1332.   215653 Smith, Aaron                Tracey & Fox Law Firm   8:20‐cv‐62356‐MCR‐HTC
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1333.   184836 Smith, Arthur               Tracey & Fox Law Firm   8:20‐cv‐07619‐MCR‐HTC
1334.   356409 Smith, Bryan                Tracey & Fox Law Firm                           3:22‐cv‐00536‐MCR‐HTC
1335.   193964 Smith, Caleb                Tracey & Fox Law Firm   8:20‐cv‐61249‐MCR‐HTC
1336.   241810 Smith, Clayton              Tracey & Fox Law Firm   8:20‐cv‐88828‐MCR‐HTC
1337.   215650 Smith, Gregory              Tracey & Fox Law Firm   8:20‐cv‐62343‐MCR‐HTC
1338.    25126      Smith, Jayr            Tracey & Fox Law Firm   7:20‐cv‐95954‐MCR‐HTC
1339.    25132      Smith, Kyle            Tracey & Fox Law Firm                           7:20‐cv‐95994‐MCR‐HTC
1340.   277035 Smith, Mark                 Tracey & Fox Law Firm                           9:20‐cv‐19966‐MCR‐HTC
1341.   286880 Smith, Mark                 Tracey & Fox Law Firm   7:21‐cv‐07059‐MCR‐HTC
1342.   170996 Smith, Michael              Tracey & Fox Law Firm                           8:20‐cv‐05322‐MCR‐HTC
1343.    25109      Smith, Tamiera         Tracey & Fox Law Firm   7:20‐cv‐95873‐MCR‐HTC
1344.    25141      Smith, Thomas          Tracey & Fox Law Firm   7:20‐cv‐96051‐MCR‐HTC
1345.   250208 Sneathen, Stanley           Tracey & Fox Law Firm   8:20‐cv‐94621‐MCR‐HTC
1346.   229198 Snodgrass, Alex             Tracey & Fox Law Firm   8:20‐cv‐65741‐MCR‐HTC
1347.   205904 Solis, Aquiles              Tracey & Fox Law Firm   8:20‐cv‐50521‐MCR‐HTC
1348.   184855 Sommerville, Justin         Tracey & Fox Law Firm   8:20‐cv‐07716‐MCR‐HTC
1349.   250210 Sorensen, Peter             Tracey & Fox Law Firm   8:20‐cv‐94627‐MCR‐HTC
1350.   215663 Sotta, Robert               Tracey & Fox Law Firm   8:20‐cv‐62384‐MCR‐HTC
1351.   215664 Sowa, Eric                  Tracey & Fox Law Firm   8:20‐cv‐62387‐MCR‐HTC
1352.   215665 Sparkman, Demetrios         Tracey & Fox Law Firm   8:20‐cv‐62390‐MCR‐HTC
1353.    25222      Spaulding, Orlando     Tracey & Fox Law Firm   7:20‐cv‐91396‐MCR‐HTC
1354.   333936 Speedone, Gilah             Tracey & Fox Law Firm   7:21‐cv‐51741‐MCR‐HTC
1355.   239520 Spencer, Cordell            Tracey & Fox Law Firm                           8:20‐cv‐93118‐MCR‐HTC
1356.   157701 Spencer, Toby               Tracey & Fox Law Firm   7:20‐cv‐99061‐MCR‐HTC
1357.   263711 Spicer, Dustin              Tracey & Fox Law Firm   9:20‐cv‐03829‐MCR‐HTC
1358.    25237      Spina, Dustin          Tracey & Fox Law Firm   7:20‐cv‐91450‐MCR‐HTC
1359.   274131 Sponseller, Jason           Tracey & Fox Law Firm                           9:20‐cv‐15795‐MCR‐HTC
1360.    25243      Spradlin, Bryan        Tracey & Fox Law Firm   7:20‐cv‐91486‐MCR‐HTC
1361.   293765 Spring, James               Tracey & Fox Law Firm   7:21‐cv‐51802‐MCR‐HTC
1362.   206514 Spruill, Colton             Tracey & Fox Law Firm   8:20‐cv‐51523‐MCR‐HTC
1363.   157116 Stalls, Patrick             Tracey & Fox Law Firm   7:20‐cv‐98740‐MCR‐HTC
1364.   215668 Stallworth, Dan             Tracey & Fox Law Firm   8:20‐cv‐62399‐MCR‐HTC
1365.   229875 Starling, Tonya             Tracey & Fox Law Firm                           8:20‐cv‐66694‐MCR‐HTC
1366.   206562 Steel, Jason                Tracey & Fox Law Firm   8:20‐cv‐51613‐MCR‐HTC
1367.   229991 Steffes, Mitch              Tracey & Fox Law Firm                           8:20‐cv‐67170‐MCR‐HTC
1368.    25296      Stephenson, Cory       Tracey & Fox Law Firm   7:20‐cv‐91662‐MCR‐HTC
1369.    25302      Stevens, Daniel        Tracey & Fox Law Firm   7:20‐cv‐91676‐MCR‐HTC
1370.   186098 Steward, Jerell             Tracey & Fox Law Firm                           8:20‐cv‐10376‐MCR‐HTC
1371.   215678 Stewart, Alexander          Tracey & Fox Law Firm   8:20‐cv‐62427‐MCR‐HTC
1372.   206002 Stewart, Benny              Tracey & Fox Law Firm   8:20‐cv‐50561‐MCR‐HTC
1373.   184884 Stewart, Jovan              Tracey & Fox Law Firm   8:20‐cv‐07843‐MCR‐HTC
1374.   206926 Stickney, Anthony           Tracey & Fox Law Firm   8:20‐cv‐51528‐MCR‐HTC
1375.   250222 Stinchcomb, Derick          Tracey & Fox Law Firm   8:20‐cv‐94658‐MCR‐HTC
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1376.   215680 Stokes, Jeff                Tracey & Fox Law Firm   8:20‐cv‐62433‐MCR‐HTC
1377.    25337      Storie, Jess           Tracey & Fox Law Firm   7:20‐cv‐91768‐MCR‐HTC
1378.   263715 Stratton, George            Tracey & Fox Law Firm   9:20‐cv‐03833‐MCR‐HTC
1379.   215684 Street, Adam                Tracey & Fox Law Firm                           8:20‐cv‐62444‐MCR‐HTC
1380.   229454 Stringer, Marcus            Tracey & Fox Law Firm                           8:20‐cv‐66324‐MCR‐HTC
1381.   206688 Stuck, Wesley               Tracey & Fox Law Firm                           8:20‐cv‐51948‐MCR‐HTC
1382.   239538 Stukes, Dathan              Tracey & Fox Law Firm   8:20‐cv‐93153‐MCR‐HTC
1383.   184894 Sudaria, Richard            Tracey & Fox Law Firm   8:20‐cv‐07886‐MCR‐HTC
1384.   170984 Suedmeyer, Joshua           Tracey & Fox Law Firm   8:20‐cv‐05277‐MCR‐HTC
1385.   156314 Sullivan, Shawn             Tracey & Fox Law Firm                           7:20‐cv‐98687‐MCR‐HTC
1386.   250230 Summers, Glenn              Tracey & Fox Law Firm                           8:20‐cv‐94667‐MCR‐HTC
1387.    25388      Sumrall, Joshua        Tracey & Fox Law Firm   7:20‐cv‐92263‐MCR‐HTC
1388.   207102 Sund, Joshua                Tracey & Fox Law Firm   8:20‐cv‐51972‐MCR‐HTC
1389.   206759 Surles, Damion              Tracey & Fox Law Firm   8:20‐cv‐51096‐MCR‐HTC
1390.   250232 Sutton, Robert              Tracey & Fox Law Firm   8:20‐cv‐94669‐MCR‐HTC
1391.   239546 Swank, Kodi                 Tracey & Fox Law Firm                           8:20‐cv‐93207‐MCR‐HTC
1392.   184901 Sweeny, Walter              Tracey & Fox Law Firm                           8:20‐cv‐07917‐MCR‐HTC
1393.    25415      Swires, Mark           Tracey & Fox Law Firm   7:20‐cv‐92316‐MCR‐HTC
1394.   239548 Sykes, Jarvis               Tracey & Fox Law Firm   8:20‐cv‐93212‐MCR‐HTC
1395.    25421      Taber, Douglas         Tracey & Fox Law Firm   7:20‐cv‐92326‐MCR‐HTC
1396.   184905 Tabor, Paul                 Tracey & Fox Law Firm   8:20‐cv‐07932‐MCR‐HTC
1397.    25424      Tackett, Bruce         Tracey & Fox Law Firm   7:20‐cv‐14942‐MCR‐HTC
1398.    25430      Talbert, Joshua        Tracey & Fox Law Firm   7:20‐cv‐92344‐MCR‐HTC
1399.    25434      Tallie, Henderson      Tracey & Fox Law Firm                           7:20‐cv‐92349‐MCR‐HTC
1400.   184910 Tardiff, Benjamin           Tracey & Fox Law Firm                           8:20‐cv‐07959‐MCR‐HTC
1401.   250237 Tate, James                 Tracey & Fox Law Firm                           8:20‐cv‐94674‐MCR‐HTC
1402.   276844 Tatham, Shawn               Tracey & Fox Law Firm                           9:20‐cv‐19306‐MCR‐HTC
1403.   211305 Taylor, Alonso              Tracey & Fox Law Firm   8:20‐cv‐57106‐MCR‐HTC
1404.   322340 Taylor, Ernest              Tracey & Fox Law Firm   7:21‐cv‐38676‐MCR‐HTC
1405.   356058 Taylor, Justin              Tracey & Fox Law Firm                           3:22‐cv‐00094‐MCR‐HTC
1406.   359850 Terrell, Jerry              Tracey & Fox Law Firm                           3:22‐cv‐03555‐MCR‐HTC
1407.    25478      Terry, Michael         Tracey & Fox Law Firm   7:20‐cv‐92441‐MCR‐HTC
1408.   194028 Thek, Samantha              Tracey & Fox Law Firm   8:20‐cv‐61508‐MCR‐HTC
1409.   184928 Thomas, Michael             Tracey & Fox Law Firm                           8:20‐cv‐08056‐MCR‐HTC
1410.   206849 Thomas, Robert              Tracey & Fox Law Firm   8:20‐cv‐51341‐MCR‐HTC
1411.   336581 Thomas, Robert              Tracey & Fox Law Firm   7:21‐cv‐56356‐MCR‐HTC
1412.   239570 Thompson, Glen              Tracey & Fox Law Firm                           8:20‐cv‐93273‐MCR‐HTC
1413.   194036 Thompson, Nicholas          Tracey & Fox Law Firm   8:20‐cv‐61543‐MCR‐HTC
1414.   215720 Thompson, Tony              Tracey & Fox Law Firm   8:20‐cv‐62536‐MCR‐HTC
1415.   205698 Tibbs, Donald               Tracey & Fox Law Firm   8:20‐cv‐48740‐MCR‐HTC
1416.   355480 Tidmore, Amon               Tracey & Fox Law Firm                           3:21‐cv‐04445‐MCR‐HTC
1417.    25554      Tison, Ronald          Tracey & Fox Law Firm   7:20‐cv‐94319‐MCR‐HTC
1418.   241833 Todd, Mark                  Tracey & Fox Law Firm   8:20‐cv‐88874‐MCR‐HTC
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1419.   211383 Todd, Tyler                 Tracey & Fox Law Firm   8:20‐cv‐57302‐MCR‐HTC
1420.   215728 Tolbert, Larry              Tracey & Fox Law Firm   8:20‐cv‐62551‐MCR‐HTC
1421.   230008 Toney, Michael              Tracey & Fox Law Firm   8:20‐cv‐67197‐MCR‐HTC
1422.   250252 Torres, Daniel              Tracey & Fox Law Firm   8:20‐cv‐94889‐MCR‐HTC
1423.    25574      Torres, Luis           Tracey & Fox Law Firm   7:20‐cv‐94340‐MCR‐HTC
1424.   184942 Tostie, Marshall            Tracey & Fox Law Firm   8:20‐cv‐08132‐MCR‐HTC
1425.    25590      Toth, Frank            Tracey & Fox Law Firm                           7:20‐cv‐94367‐MCR‐HTC
1426.   205852 Townsend, Lorenzo           Tracey & Fox Law Firm   8:20‐cv‐49420‐MCR‐HTC
1427.   241834 Tracy, Brian                Tracey & Fox Law Firm   8:20‐cv‐88876‐MCR‐HTC
1428.   239582 Trail, Raymond              Tracey & Fox Law Firm   8:20‐cv‐93305‐MCR‐HTC
1429.   230387 Travis, Sir                 Tracey & Fox Law Firm   8:20‐cv‐73093‐MCR‐HTC
1430.   184948 Trenche, Marxel             Tracey & Fox Law Firm   8:20‐cv‐08166‐MCR‐HTC
1431.   171067 Tringali, Rick              Tracey & Fox Law Firm   8:20‐cv‐05846‐MCR‐HTC
1432.   229295 Trombley, Jennifer          Tracey & Fox Law Firm   8:20‐cv‐65921‐MCR‐HTC
1433.   194055 Troth, Raymond              Tracey & Fox Law Firm   8:20‐cv‐61630‐MCR‐HTC
1434.   215737 Trusdell, Chris             Tracey & Fox Law Firm   8:20‐cv‐62565‐MCR‐HTC
1435.   336585 Tubaugh, Jason              Tracey & Fox Law Firm   7:21‐cv‐56363‐MCR‐HTC
1436.   157760 Tucholsky, Michael          Tracey & Fox Law Firm   7:20‐cv‐99097‐MCR‐HTC
1437.   229572 Tucker, David               Tracey & Fox Law Firm   8:20‐cv‐66766‐MCR‐HTC
1438.   171350 Turner, Eric                Tracey & Fox Law Firm   8:20‐cv‐01733‐MCR‐HTC
1439.   274061 Turner, Gary                Tracey & Fox Law Firm   9:20‐cv‐15725‐MCR‐HTC
1440.   250259 Twitchell, Keith            Tracey & Fox Law Firm   8:20‐cv‐94896‐MCR‐HTC
1441.    25660      Tyner, Christopher     Tracey & Fox Law Firm   7:20‐cv‐94563‐MCR‐HTC
1442.   194063 Upton, Thomas               Tracey & Fox Law Firm   8:20‐cv‐61670‐MCR‐HTC
1443.   184965 Vaclavik, Timothy           Tracey & Fox Law Firm   8:20‐cv‐08246‐MCR‐HTC
1444.    25674      Vadney, Andrew         Tracey & Fox Law Firm   7:20‐cv‐94610‐MCR‐HTC
1445.   194067 Valdez, Alan                Tracey & Fox Law Firm   8:20‐cv‐61694‐MCR‐HTC
1446.   274106 Valdez, Jesse               Tracey & Fox Law Firm   9:20‐cv‐15770‐MCR‐HTC
1447.    25685      Valdez, Kyle           Tracey & Fox Law Firm   7:20‐cv‐94653‐MCR‐HTC
1448.   206363 Valle, Jose                 Tracey & Fox Law Firm                           8:20‐cv‐49941‐MCR‐HTC
1449.   260264 Vallette, Casey             Tracey & Fox Law Firm   9:20‐cv‐01978‐MCR‐HTC
1450.   229764 Vandermolen, Anthony        Tracey & Fox Law Firm   8:20‐cv‐66275‐MCR‐HTC
1451.   206134 Vanhorn, James              Tracey & Fox Law Firm   8:20‐cv‐50186‐MCR‐HTC
1452.   205908 Vankampen, James            Tracey & Fox Law Firm   8:20‐cv‐49545‐MCR‐HTC
1453.   194072 Vargas, Johnander           Tracey & Fox Law Firm                           8:20‐cv‐61724‐MCR‐HTC
1454.   336588 Varner, Jason               Tracey & Fox Law Firm   7:21‐cv‐56368‐MCR‐HTC
1455.   211225 Vasquez, Joshua             Tracey & Fox Law Firm   8:20‐cv‐56857‐MCR‐HTC
1456.   239604 Vasquez, Michael            Tracey & Fox Law Firm                           8:20‐cv‐93992‐MCR‐HTC
1457.   206479 Vaughn, Hunter              Tracey & Fox Law Firm                           8:20‐cv‐51451‐MCR‐HTC
1458.    25735      Vazquez, Jimmy         Tracey & Fox Law Firm   7:20‐cv‐95281‐MCR‐HTC
1459.   211062 Vecchio, Ryan               Tracey & Fox Law Firm                           8:20‐cv‐56258‐MCR‐HTC
1460.   239605 Vega, Angel                 Tracey & Fox Law Firm   8:20‐cv‐93993‐MCR‐HTC
1461.    25751      Velasquez, Edwin       Tracey & Fox Law Firm                           7:20‐cv‐95359‐MCR‐HTC
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1462.   250266 Velasquez, Eric            Tracey & Fox Law Firm   8:20‐cv‐94903‐MCR‐HTC
1463.   230468 Velez, Alexandro           Tracey & Fox Law Firm   8:20‐cv‐73296‐MCR‐HTC
1464.   230554 Velezrodriguez, Lissette   Tracey & Fox Law Firm   8:20‐cv‐73608‐MCR‐HTC
1465.   171532 Ventura, Terry             Tracey & Fox Law Firm   8:20‐cv‐02048‐MCR‐HTC
1466.    25757      Vera, Santos          Tracey & Fox Law Firm   7:20‐cv‐95391‐MCR‐HTC
1467.   250269 Villagomez, Reuben         Tracey & Fox Law Firm   8:20‐cv‐94906‐MCR‐HTC
1468.   230519 Villarino, Marcial         Tracey & Fox Law Firm   8:20‐cv‐73481‐MCR‐HTC
1469.   239608 Villegas, Alexander        Tracey & Fox Law Firm   8:20‐cv‐93996‐MCR‐HTC
1470.   215760 Vilusceac, Dacian          Tracey & Fox Law Firm                           8:20‐cv‐63155‐MCR‐HTC
1471.   280623 Vimo, Matteo               Tracey & Fox Law Firm   7:21‐cv‐03429‐MCR‐HTC
1472.   239612 Viveiros, Dereck           Tracey & Fox Law Firm                           8:20‐cv‐94000‐MCR‐HTC
1473.   184989 Voight, Jeffery            Tracey & Fox Law Firm   8:20‐cv‐08364‐MCR‐HTC
1474.   184990 Voll, Andrew               Tracey & Fox Law Firm   8:20‐cv‐08371‐MCR‐HTC
1475.   293748 Wade, Jeffrey              Tracey & Fox Law Firm   7:21‐cv‐51785‐MCR‐HTC
1476.   356018 Wade, Mark                 Tracey & Fox Law Firm                           3:22‐cv‐00117‐MCR‐HTC
1477.   230078 Walczak, Michael           Tracey & Fox Law Firm   8:20‐cv‐67267‐MCR‐HTC
1478.   184995 Walker, Beau               Tracey & Fox Law Firm   8:20‐cv‐08397‐MCR‐HTC
1479.   239618 Walker, Christopher        Tracey & Fox Law Firm                           8:20‐cv‐94006‐MCR‐HTC
1480.   276912 Walker, Maria              Tracey & Fox Law Firm   9:20‐cv‐19424‐MCR‐HTC
1481.    25819      Walker, Richard       Tracey & Fox Law Firm   7:20‐cv‐95699‐MCR‐HTC
1482.   194093 Walker, Steven             Tracey & Fox Law Firm   8:20‐cv‐61841‐MCR‐HTC
1483.   215768 Wallingford, Peter         Tracey & Fox Law Firm   8:20‐cv‐63179‐MCR‐HTC
1484.   184999 Walls, Joel                Tracey & Fox Law Firm   8:20‐cv‐08415‐MCR‐HTC
1485.   239623 Walters, Caitlyn           Tracey & Fox Law Firm   8:20‐cv‐94011‐MCR‐HTC
1486.    25841      Walthall, Dalton      Tracey & Fox Law Firm   7:20‐cv‐96408‐MCR‐HTC
1487.   194100 Wang, Hao                  Tracey & Fox Law Firm   8:20‐cv‐61877‐MCR‐HTC
1488.   205455 Ward, Kimberly             Tracey & Fox Law Firm   8:20‐cv‐48175‐MCR‐HTC
1489.   185000 Ward, Michael              Tracey & Fox Law Firm   8:20‐cv‐08419‐MCR‐HTC
1490.   194102 Wardwell, Merinda          Tracey & Fox Law Firm   8:20‐cv‐61887‐MCR‐HTC
1491.   185002 Ware, Alvin                Tracey & Fox Law Firm   8:20‐cv‐08429‐MCR‐HTC
1492.   239626 Ware, Marcus               Tracey & Fox Law Firm   8:20‐cv‐94013‐MCR‐HTC
1493.   258462 Warnock, Andrew            Tracey & Fox Law Firm   9:20‐cv‐15484‐MCR‐HTC
1494.    25871      Warren, Charles       Tracey & Fox Law Firm   7:20‐cv‐96436‐MCR‐HTC
1495.   206179 Warren, Troy               Tracey & Fox Law Firm                           8:20‐cv‐50611‐MCR‐HTC
1496.   230292 Washington, Julius         Tracey & Fox Law Firm   8:20‐cv‐72946‐MCR‐HTC
1497.   185013 Watson, Patrick            Tracey & Fox Law Firm   8:20‐cv‐08489‐MCR‐HTC
1498.    25916      Watts, Anthony        Tracey & Fox Law Firm   7:20‐cv‐96511‐MCR‐HTC
1499.   230250 Watts, Markell             Tracey & Fox Law Firm   8:20‐cv‐72867‐MCR‐HTC
1500.   239631 Waylande, Ricky            Tracey & Fox Law Firm                           8:20‐cv‐94018‐MCR‐HTC
1501.   239632 Weaver, Joseph             Tracey & Fox Law Firm   8:20‐cv‐94019‐MCR‐HTC
1502.   354541 Webb, Michael              Tracey & Fox Law Firm                           3:21‐cv‐03301‐MCR‐HTC
1503.   250289 Weber, Garrett             Tracey & Fox Law Firm                           8:20‐cv‐94926‐MCR‐HTC
1504.   194108 Wedward, Justin            Tracey & Fox Law Firm   8:20‐cv‐61919‐MCR‐HTC
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1505.    25934      Weeks, Kendall           Tracey & Fox Law Firm                           7:20‐cv‐96561‐MCR‐HTC
1506.   354542 Weigand, Robert               Tracey & Fox Law Firm                           3:21‐cv‐03394‐MCR‐HTC
1507.    25944      Weiland, John            Tracey & Fox Law Firm   7:20‐cv‐96602‐MCR‐HTC
1508.   263761 Welch, Kevin                  Tracey & Fox Law Firm   9:20‐cv‐03879‐MCR‐HTC
1509.   276791 Welton, Zach                  Tracey & Fox Law Firm   9:20‐cv‐19253‐MCR‐HTC
1510.   194113 Wenzel, Paul                  Tracey & Fox Law Firm   8:20‐cv‐61944‐MCR‐HTC
1511.   170896 Werer, Logan                  Tracey & Fox Law Firm   8:20‐cv‐04791‐MCR‐HTC
1512.   230317 Werts, Frank                  Tracey & Fox Law Firm   8:20‐cv‐72991‐MCR‐HTC
1513.    25982      Westerman, Sean          Tracey & Fox Law Firm                           7:20‐cv‐96748‐MCR‐HTC
1514.    25984      Weston, Cole             Tracey & Fox Law Firm   7:20‐cv‐96756‐MCR‐HTC
1515.    25986      Whaley, Kegan            Tracey & Fox Law Firm   7:20‐cv‐96763‐MCR‐HTC
1516.   250294 Wheatley, Salena              Tracey & Fox Law Firm   8:20‐cv‐94931‐MCR‐HTC
1517.   322349 Wheeler, Brandon              Tracey & Fox Law Firm   7:21‐cv‐38701‐MCR‐HTC
1518.   171207 Wheeler, Timmothy             Tracey & Fox Law Firm                           8:20‐cv‐07480‐MCR‐HTC
1519.   194122 Whiddin, Shandel              Tracey & Fox Law Firm   8:20‐cv‐61991‐MCR‐HTC
1520.    25993      Whigham, Zach            Tracey & Fox Law Firm   7:20‐cv‐96788‐MCR‐HTC
1521.   250296 Whipple, Ryan                 Tracey & Fox Law Firm                           8:20‐cv‐94933‐MCR‐HTC
1522.   229249 White, Anthony                Tracey & Fox Law Firm   8:20‐cv‐65835‐MCR‐HTC
1523.   194124 White, Brad                   Tracey & Fox Law Firm   8:20‐cv‐62001‐MCR‐HTC
1524.   206111 White, Christopher            Tracey & Fox Law Firm   8:20‐cv‐50119‐MCR‐HTC
1525.   239644 White, Connor                 Tracey & Fox Law Firm                           8:20‐cv‐94031‐MCR‐HTC
1526.   260276 White, Jason                  Tracey & Fox Law Firm   9:20‐cv‐01990‐MCR‐HTC
1527.   274089 White, Tiffany                Tracey & Fox Law Firm   9:20‐cv‐15753‐MCR‐HTC
1528.   229892 Whitley, Marquise             Tracey & Fox Law Firm   8:20‐cv‐66769‐MCR‐HTC
1529.   239646 Whitmore, George              Tracey & Fox Law Firm   8:20‐cv‐94033‐MCR‐HTC
1530.   229346 Whitmore, Justen              Tracey & Fox Law Firm   8:20‐cv‐65998‐MCR‐HTC
1531.   241854 Wiegand, Brian                Tracey & Fox Law Firm                           8:20‐cv‐88915‐MCR‐HTC
1532.   250306 Wilder, Justin                Tracey & Fox Law Firm                           8:20‐cv‐94943‐MCR‐HTC
1533.   258500 Wiles, Ernest                 Tracey & Fox Law Firm   9:20‐cv‐15565‐MCR‐HTC
1534.   215794 Wilkinson, Stephen            Tracey & Fox Law Firm                           8:20‐cv‐63231‐MCR‐HTC
1535.   229373 Willard, Curtis               Tracey & Fox Law Firm   8:20‐cv‐66051‐MCR‐HTC
1536.   359878 Williams, Antonio             Tracey & Fox Law Firm                           3:22‐cv‐03399‐MCR‐HTC
1537.    26074      Williams, D'Arcy         Tracey & Fox Law Firm   7:20‐cv‐97516‐MCR‐HTC
1538.   230055 Williams, Derrick             Tracey & Fox Law Firm                           8:20‐cv‐67244‐MCR‐HTC
1539.   215803 Williams, Dustin              Tracey & Fox Law Firm   8:20‐cv‐63249‐MCR‐HTC
1540.    26098      Williams, Heather        Tracey & Fox Law Firm   7:20‐cv‐97616‐MCR‐HTC
1541.   333961 Williams, Jeffrey             Tracey & Fox Law Firm   7:21‐cv‐51765‐MCR‐HTC
1542.    26066      Williams, Lamar          Tracey & Fox Law Firm   7:20‐cv‐97476‐MCR‐HTC
1543.   276991 Williams, Matthew             Tracey & Fox Law Firm   9:20‐cv‐19854‐MCR‐HTC
1544.    26104      Williams, Quinterrance   Tracey & Fox Law Firm   7:20‐cv‐97639‐MCR‐HTC
1545.    26100      Williams, Shawn          Tracey & Fox Law Firm                           7:20‐cv‐97623‐MCR‐HTC
1546.   215800 Williams, Stacey              Tracey & Fox Law Firm   8:20‐cv‐63243‐MCR‐HTC
1547.   211343 Williams, Xavier              Tracey & Fox Law Firm   8:20‐cv‐57214‐MCR‐HTC
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1548.    26121      Wills, Dejuan          Tracey & Fox Law Firm   7:20‐cv‐97730‐MCR‐HTC
1549.   211091 Wilson, Allen               Tracey & Fox Law Firm   8:20‐cv‐56369‐MCR‐HTC
1550.   205201 Wilson, Jamar               Tracey & Fox Law Firm   8:20‐cv‐48326‐MCR‐HTC
1551.    26149      Wilt, Christopher      Tracey & Fox Law Firm   7:20‐cv‐97890‐MCR‐HTC
1552.    26152      Wingo, Harold          Tracey & Fox Law Firm   7:20‐cv‐97908‐MCR‐HTC
1553.   211133 Winsbro, Geoffrey           Tracey & Fox Law Firm                           8:20‐cv‐56508‐MCR‐HTC
1554.   170912 Witek, Jamie                Tracey & Fox Law Firm   8:20‐cv‐04864‐MCR‐HTC
1555.   250314 Withrow, Daniel             Tracey & Fox Law Firm   8:20‐cv‐94951‐MCR‐HTC
1556.    26165      Withrow, David         Tracey & Fox Law Firm   7:20‐cv‐97977‐MCR‐HTC
1557.   250315 Wittig, Matthew             Tracey & Fox Law Firm   8:20‐cv‐94952‐MCR‐HTC
1558.    26172      Wolf, Cameron          Tracey & Fox Law Firm   7:20‐cv‐98018‐MCR‐HTC
1559.    26179      Womack, Kevin          Tracey & Fox Law Firm   7:20‐cv‐98060‐MCR‐HTC
1560.   215823 Wonders, Christian          Tracey & Fox Law Firm   8:20‐cv‐63289‐MCR‐HTC
1561.    26192      Wood, Chris            Tracey & Fox Law Firm   7:20‐cv‐98126‐MCR‐HTC
1562.   322352 Wood, James                 Tracey & Fox Law Firm   7:21‐cv‐38709‐MCR‐HTC
1563.   239671 Woodard, Joseph             Tracey & Fox Law Firm                           8:20‐cv‐94078‐MCR‐HTC
1564.   260281 Woods, Jesse                Tracey & Fox Law Firm   9:20‐cv‐01995‐MCR‐HTC
1565.   205188 Woods, Wayne                Tracey & Fox Law Firm   8:20‐cv‐50175‐MCR‐HTC
1566.   354546 Woodson, Alfred             Tracey & Fox Law Firm                           3:21‐cv‐02872‐MCR‐HTC
1567.   205594 Woodward, David             Tracey & Fox Law Firm                           8:20‐cv‐48543‐MCR‐HTC
1568.   211337 Wooters, Alan               Tracey & Fox Law Firm   8:20‐cv‐57197‐MCR‐HTC
1569.   185087 Workizer, Jason             Tracey & Fox Law Firm   8:20‐cv‐08945‐MCR‐HTC
1570.   185089 Wotruba, Arthur             Tracey & Fox Law Firm   8:20‐cv‐08949‐MCR‐HTC
1571.    26212      Wouters, Daniel        Tracey & Fox Law Firm   7:20‐cv‐98219‐MCR‐HTC
1572.    26227      Wright, Alphonzo       Tracey & Fox Law Firm                           7:20‐cv‐92372‐MCR‐HTC
1573.   250321 Wright, Bryson              Tracey & Fox Law Firm   8:20‐cv‐94958‐MCR‐HTC
1574.   230534 Wright, Christopher         Tracey & Fox Law Firm   8:20‐cv‐73536‐MCR‐HTC
1575.   170922 Wyatt, Dylan                Tracey & Fox Law Firm   8:20‐cv‐04907‐MCR‐HTC
1576.   185098 Yantz, Jeremiah             Tracey & Fox Law Firm   8:20‐cv‐08968‐MCR‐HTC
1577.   185100 Yeager, Jeremiah            Tracey & Fox Law Firm   8:20‐cv‐08972‐MCR‐HTC
1578.   215837 Yeager, Nathan              Tracey & Fox Law Firm   8:20‐cv‐63317‐MCR‐HTC
1579.    26261      Young, Brian           Tracey & Fox Law Firm   7:20‐cv‐92447‐MCR‐HTC
1580.   250327 Young, Nicholas             Tracey & Fox Law Firm   8:20‐cv‐94964‐MCR‐HTC
1581.    26268      Young, Wesley          Tracey & Fox Law Firm   7:20‐cv‐92468‐MCR‐HTC
1582.   194183 Zamora, James               Tracey & Fox Law Firm   8:20‐cv‐62307‐MCR‐HTC
1583.   239685 Zamudio, Dustyn             Tracey & Fox Law Firm   8:20‐cv‐94106‐MCR‐HTC
1584.   159995 Zavala, Gregory             Tracey & Fox Law Firm                           7:20‐cv‐99327‐MCR‐HTC
1585.    26285      Zavala, Rafael         Tracey & Fox Law Firm   7:20‐cv‐92497‐MCR‐HTC
1586.   194184 Zawaski, Anthony            Tracey & Fox Law Firm                           8:20‐cv‐62312‐MCR‐HTC
1587.    26287      Zayas, Javier          Tracey & Fox Law Firm   7:20‐cv‐92500‐MCR‐HTC
1588.   276960 Zehnder, Donnie             Tracey & Fox Law Firm   9:20‐cv‐19812‐MCR‐HTC
1589.   215846 Zepkowski, Charles          Tracey & Fox Law Firm                           8:20‐cv‐63342‐MCR‐HTC
1590.   185107 Zimmer, Troy                Tracey & Fox Law Firm   8:20‐cv‐08986‐MCR‐HTC
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                                            EXHIBIT A

        Plaintiff                                              Admin Docket Case       Active Docket Case
Row                  Plaintiff Name     Law Firm Name
           ID                                                      Number                   Number
1591.   194188 Zimmerman, Brian       Tracey & Fox Law Firm   8:20‐cv‐62334‐MCR‐HTC
1592.   185108 Zygner, Michael        Tracey & Fox Law Firm                           8:20‐cv‐08988‐MCR‐HTC
